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Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 2 of 48
Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 3 of 48
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                                                                                Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 5 of 48

Form Type    Agent Name                                              Agent Invoice Number                                 Agent Invoice Date    Sales Country of Destination   Related Sales            Entered By          Commission Rate   Commission Payable   Relationship Manager Approer Approved/Rejec
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/160601 & NOV/160501                                         1/6/2016   OMAN                                        10,215.83   Rubolino, Frank R   5                             510.79   Douglas Kidd's approval pending
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/160301; NOV/160302                                          3/1/2016   OMAN                                     1,816,667.29   Rubolino, Frank R   5                          90,833.36   Zantout, Khaled A                3/4/2016
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 160101                                                  1/30/2016    OMAN                                        37,899.00   Rubolino, Frank R   5                           1,894.95   Zantout, Khaled A                2/11/2016
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 151201                                                 12/10/2015    KUWAIT                                   5,565,823.98   Rubolino, Frank R   5                         278,291.20   Zantout, Khaled A               12/23/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 151101                                                 11/24/2015    OMAN                                       473,114.25   Rubolino, Frank R   5                          23,655.71   Zantout, Khaled A               12/15/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 151001                                                 10/29/2015    OMAN                                        59,450.00   Rubolino, Frank R   5                           2,972.50   Zantout, Khaled A               11/20/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150801                                                  8/19/2015    OMAN                                    22,320,251.76   Rubolino, Frank R   3                         669,607.55   Zantout, Khaled A                9/25/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/150602; NOV/150603; NOV/150601                              6/7/2015   OMAN                                     3,252,249.76   Rubolino, Frank R   2.53857963                 82,560.95   Zantout, Khaled A                7/7/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   150301                                                          3/7/2015   OMAN                                     1,405,996.32   El Sayah, Samer     5                          70,299.82   Zantout, Khaled A                6/8/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150501                                                  5/11/2015    OMAN                                       456,883.52   Rubolino, Frank R   5                          22,844.18   Zantout, Khaled A                5/20/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/150201; NOV/150202                                        2/15/2015    OMAN                                     4,406,710.70   Rubolino, Frank R   3                         132,201.32   Zantout, Khaled A                4/16/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   150103                                                        1/27/2015    OMAN                                       848,913.21   Gopi, Sowmya        5                          42,445.66   Zantout, Khaled A                 4/9/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150205; NOV / 150204                                    2/22/2015    OMAN                                       267,040.00   Rubolino, Frank R   5                          13,352.00   Zantout, Khaled A                2/27/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150102                                                  1/27/2015    OMAN                                       563,190.05   Rubolino, Frank R   5                          28,159.50   Zantout, Khaled A                2/27/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150203                                                    2/7/2015   OMAN                                       137,249.22   Rubolino, Frank R   5                           6,862.46   Zantout, Khaled A                2/27/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   Nov / 150201; NOV / 150202                                      2/2/2015   OMAN                                     4,406,710.70   Rubolino, Frank R   2.5                       110,167.77   Zantout, Khaled A                2/19/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 150101                                                  1/27/2015    OMAN                                     1,575,000.00   Rubolino, Frank R   5                          78,750.00   Zantout, Khaled A                2/9/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   141016                                                       10/23/2014    OMAN                                     2,678,056.92   Gopi, Sowmya        5                         133,902.85   Zantout, Khaled A                1/26/2015
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV / 141019                                                  11/5/2014    OMAN                                       145,896.00   Rubolino, Frank R   5                           7,294.80   Zantout, Khaled A                12/8/2014
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/141017; NOV/141018                                       10/23/2014    OMAN                                    15,717,752.69   Rubolino, Frank R   5                         785,887.63   Zantout, Khaled A                12/2/2014
Commission   Orient Consultants FZE aka Orient Energy Services LLC   NOV/141013; NOV/141014; NOV/141015                            10/9/2014    OMAN                                     2,977,850.10   Rubolino, Frank R   5                         148,892.51   Zantout, Khaled A                11/7/2014
Commission   Orient Consultants aka Orient Energy Services           NOV/140712; NOV/140711; NOV/140610                              7/4/2014   OMAN                                       512,881.92   Rubolino, Frank R   5                          25,644.10   Zantout, Khaled A                7/28/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 140609                                                    6/1/2014   OMAN                                       903,226.25   Rubolino, Frank R   5                          45,161.31   Zantout, Khaled A                 7/1/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 140308                                                  3/25/2014    OMAN                                       855,834.64   Rubolino, Frank R   5                          42,791.73   Zantout, Khaled A                4/15/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 140207                                                  2/21/2014    OMAN                                       189,206.00   Rubolino, Frank R   5                           9,460.30   Zantout, Khaled A                 3/4/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 140206                                                  2/19/2014    OMAN                                     1,966,655.36   Rubolino, Frank R   5                          98,332.77   Zantout, Khaled A                2/28/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 140101                                                  1/28/2014    OMAN                                        65,250.00   Rubolino, Frank R   5                           3,262.50   Zantout, Khaled A                2/11/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 120701                                                  12/5/2013    OMAN                                       174,463.00   Rubolino, Frank R   5                           8,723.15   Zantout, Khaled A                1/27/2014
Commission   Orient Consultants aka Orient Energy Services           NOV/120702;NOV/120703;NOV/120704;NOV/120705                  11/29/2013    OMAN                                     1,918,368.82   Rubolino, Frank R   5                          95,918.44   Zantout, Khaled A                1/7/2014
Commission   Orient Consultants aka Orient Energy Services           NOV / 91801 &amp; 91802                                       9/19/2013    OMAN                                       107,075.20   Rubolino, Frank R   5                           5,353.76   Zantout, Khaled A                9/30/2013
Commission   Orient Consultants aka Orient Energy Services           NOV / 71304; 71302; 71303; 71301                              7/21/2013    OMAN                                       682,356.00   Rubolino, Frank R   5                          34,117.80   Zantout, Khaled A                8/12/2013
Commission   Orient Consultants                                      OCFZE/2013/02047                                                3/1/2013   OMAN                                       562,000.00   Rubolino, Frank R   5                          28,100.00   Zantout, Khaled A                 4/1/2013
Commission   Orient Consultants                                      OCFZE/2012/02035                                              5/31/2012    OMAN                                     1,002,000.00   Rubolino, Frank R   4.0                        40,080.00   Zantout, Khaled A                3/5/2013
Commission   Orient Consultants                                      OCFZE/2013/02048                                                3/3/2013   OMAN                                        75,000.00   Rubolino, Frank R   5                           3,750.00   Zantout, Khaled A                 3/5/2013
Commission   Orient Consultants                                      OCFZE/2012/02044                                             11/30/2012    UNITED ARAB EMIRATES                     1,589,735.00   Gopi, Sowmya        5                          79,486.75   Zantout, Khaled A                1/31/2013
Commission   Orient Consultants                                      OCFZE/2012/02045                                             11/30/2012    UNITED ARAB EMIRATES                        65,547.76   Gopi, Sowmya        5                           3,277.39   Zantout, Khaled A                1/31/2013
Commission   Orient Consultants                                      OCFZE/2012/02043                                             11/30/2012    OMAN                                        75,000.00   Rubolino, Frank R   4                           3,000.00   Zantout, Khaled A               12/19/2012
Commission   Orient Consultants                                      OCFZE/2012/02034                                              5/11/2012    OMAN                                     1,002,000.00   Rubolino, Frank R   4                          40,080.00   Zantout, Khaled A                12/5/2012
Commission   Orient Consultants                                      OCFZE/Oman//2011/02023 &amp; 02018                            8/18/2011    OMAN                                       200,000.00   Rubolino, Frank R   4                           8,000.00   Zantout, Khaled A               10/11/2012
Commission   Orient Consultants                                      OCFZE/2012/02041                                              9/20/2012    OMAN                                        97,257.75   Rubolino, Frank R   5                           4,862.89   Zantout, Khaled A                9/27/2012
Commission   Orient Consultants                                      OCFZE/2012/02040                                                8/9/2012   OMAN                                       403,093.30   Rubolino, Frank R   5                          20,154.67                                    8/23/2012
Commission   Orient Consultants                                      OCFZE/2012/02038 &amp; 02039                                    8/1/2012   OMAN                                     3,873,698.21   Rubolino, Frank R   5                         193,684.91                                    8/14/2012
Commission   Orient Consultants                                      OCFZE/2012/02034                                              5/11/2012    OMAN                                     4,308,000.00   Rubolino, Frank R   4                         172,320.00                                    7/31/2012
Commission   Orient Consultants                                      OCFZE/2012/02037                                                7/2/2012   OMAN                                        75,000.00   Rubolino, Frank R   5                           3,750.00                                    7/26/2012
Commission   Orient Consultants                                      OCFZE/2012/02035                                              5/31/2012    OMAN                                    11,022,000.00   Rubolino, Frank R   4                         440,880.00                                    7/12/2012
Commission   Orient Consultants                                      OCFZE/2012/02035                                              5/31/2012    OMAN                                     8,016,000.00   Rubolino, Frank R   4                         320,640.00                                     6/6/2012
Commission   Orient Consultants                                      OCFZE/2012/02034; 2011/02023; 2011/02018; 2012/02034          5/11/2012    OMAN                                    19,402,320.00   Rubolino, Frank R   4.006721361               777,396.90                                     6/6/2012
Commission   Orient Consultants                                      OCFZE/2012-02033                                              4/14/2012    OMAN                                       131,910.00   Rubolino, Frank R   5                           6,595.50                                    5/11/2012
Commission   Orient Consultants                                      OCFZE/2012/02032                                                3/1/2012   YEMEN                                       79,845.00   Rubolino, Frank R   5                           3,992.25                                    3/28/2012
Commission   Orient Consultants                                      OCFZE/2012/02030 &amp; 02031                                  2/21/2012    OMAN                                       110,358.98   Rubolino, Frank R   5                           5,517.95                                    2/27/2012
Commission   Orient Consultants                                      OCFZE/OMAN/2011//02023 - Rev 1                                  2/2/2012   OMAN                                    35,179,800.00   Rubolino, Frank R   4                       1,407,192.00                                    2/13/2012
Commission   Orient Consultants                                      OCFZE/2012/02029                                              1/12/2012    OMAN                                       148,367.00   Rubolino, Frank R   5                           7,418.35                                    1/31/2012
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02026 &amp; 02028                             12/7/2011    OMAN                                     1,846,134.33   Rubolino, Frank R   4                          73,845.37                                    1/23/2012
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02027                                         12/7/2011    OMAN                                     1,839,866.25   Rubolino, Frank R   4                          73,594.65                                    1/3/2012
Commission   Orient Consultants                                      OCFZE/Yemen/2011/02024                                       11/28/2011    YEMEN                                    1,222,022.00   Rubolino, Frank R   5                          61,101.10                                    12/1/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02025                                        11/28/2011    OMAN                                       144,453.00   Rubolino, Frank R   5                           7,222.65                                    12/1/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02022                                         9/29/2011    OMAN                                       399,466.00   Rubolino, Frank R   5                          19,973.30                                    10/6/2011
Commission   Orient Consultants                                      OCFZE/OMAN/201/02020 &amp; 02021                              9/25/2011    OMAN                                       273,526.85   Rubolino, Frank R   5                          13,676.34                                    9/30/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02018                                         8/18/2011    OMAN                                    35,509,524.49   Rubolino, Frank R   4                       1,420,380.98                                    8/31/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02012                                           2/1/2011   OMAN                                       847,851.40   Rubolino, Frank R   5                          42,392.57                                    8/25/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02019                                         8/20/2011    OMAN                                     5,709,169.74   Rubolino, Frank R   5                         285,458.49                                    8/22/2011
Commission   Orient Consultants                                      OCFZE/Oman/2011/02016                                         7/11/2011    OMAN                                       407,637.05   Rubolino, Frank R   5                          20,381.85                                    8/24/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011-02016 &amp; 02017                               7/6/2011   OMAN                                     8,553,344.77   Rubolino, Frank R   5                         427,667.24                                    7/21/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/02014                                         6/12/2011    OMAN                                     1,509,571.39   Gopi, Sowmya        5                          75,478.57                                    7/20/2011
Commission   Orient Consultants                                      OCFZE/YEMEN/2011/02015                                        6/12/2011    YEMEN                                      806,002.18   Gopi, Sowmya        5                          40,300.11                                    7/20/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/01183                                         1/19/2011    OMAN                                        30,645.00   Rubolino, Frank R   5                           1,532.25                                    6/24/2011
Commission   Orient Consultants                                      OCFZE/Oman/2011/02011 &amp; 02013                             4/25/2011    OMAN                                     1,860,080.30   Rubolino, Frank R   5                          93,004.02                                    5/17/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/01180; 01181; 01182                           1/19/2011    OMAN                                       393,578.84   Rubolino, Frank R   5                          19,678.94                                    1/25/2011
Commission   Orient Consultants                                      OCFZE/OMAN/2011/0104 & OCFZE/OMAN/2010/117                      1/3/2011   OMAN                                    14,362,694.00   Rubolino, Frank R   3                         430,880.82                                    1/19/2011
Commission   Orient Consultants                                      OCFZE/2010/10181                                             10/18/2010    SAUDI ARABIA                             1,129,412.76   Rubolino, Frank R   5                          56,470.64                                   10/25/2010
Commission   Orient Consultants                                      OCFZE/OMAN/2010/0716                                          7/15/2010    OMAN                                     1,771,922.00   Rubolino, Frank R   5                          88,596.10                                    9/27/2010
Commission   Orient Consultants                                      OCFZE/2010/08282;08283;08281                                  8/28/2010    OMAN                                     2,859,185.02   Rubolino, Frank R   5                         142,959.25                                     9/2/2010
Commission   Orient Consultants                                      OCFZE/OMAN/2010/015 & 117                                     6/18/2010    OMAN                                    14,760,439.00   Rubolino, Frank R   3.00070553457             442,917.31                                    8/17/2010

                                                                                                                                                TOTAL                             260,153,697.86                                 4.04%          10,507,845.47
                                                                     PRIOR TO THE APM APPROVAL PROCESS:                   AMOUNT PAID




                                                                                                                                    52053.98
                                                                                                                                    81851.36
                                                                                                                                      3499.5
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                                                                                                                                                                 Exhibit A-Jason Pack Dec 2.9.18
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Sl.no      Vendor Invoice         AED          Quarter   Year Remarks                                        Payment Proof
                                                                                                              (File name)
 1      GBS/2009/EUA/MAR018        21,300.00     Q2      2009 Q2 2009 - Mitsu FUSO 10T Pickup                    09_Q2_2009_MAR018
 2      GBS/2009/EUA/MAY028        54,250.00     Q2      2009 May-Aug 2009 7T forklift
                                                                                                             09_Q2_2009_MAY027&028
 3      GBS/2209/EUA/MAY027        43,400.00     Q2      2009 May-Aug 2009 2.5T forklift
 4      GBS/2009/EUA/MAR016        81,000.00     Q2      2009 Q2 2009 - 2*3T Forklift
                                                                                                          09_Q2_2009_MAR016&MAR019
 5      GBS/2009/EUA/MAR019         9,450.00     Q2      2009 3T Forklift - Mar09
 6       EUA/MAR017/MAR020         11,700.00     Q2      2009 23rd Mar - 30June 2009 - TENNANT Scrubber   09_Q2_2009_MAR017&MAR020
 7      GBS/2009/EUA/JUN029        81,000.00     Q3      2009 Q3 2009 - 2*3T Forklift
 8      GBS/2009/EUA/JUN031        21,300.00     Q3      2009 Q3 2009 - Mitsu FUSO 10T Pickup             09_Q3_2009_JUN029,030&031
 9      GBS/2009/EUA/JUN030        11,250.00     Q3      2009 Q3 2009 - TENNANT Scrubber
 10     GBS/2009/EUA/SEPT034       56,000.00     Q4      2009 2.5T Electric Forklift - Q4 2009
 11     GBS/2009/EUA/SEPT035       70,000.00     Q4      2009 7T Forklift - Q4 2009                          09_Q4_2009_SEPT034-036
 12     GBS/2009/EUA/SEPT036       81,000.00     Q4      2009 Q4 2009 - 2*3T Forklift
 13     GBS/2009/EUA/SEPT038       21,300.00     Q4      2009 Q4 2009 - Mitsu FUSO 10T Pickup
                                                                                                            09_Q4_2009_SEPT037&038
 14     GBS/2009EUA/SEPT 037       11,250.00     Q4      2009 Q4 2009 - TENNANT Scrubber
 15     GBS/2009/EUA/DEC042        81,000.00     Q1      2010 Q1 2010 - 2*3T Forklift
 16     GBS/2009/EUA/DEC044        42,000.00     Q1      2010 Q1 2010 - 2.5T Electric Forklift
 17     GBS/2009/EUA/DEC043        52,500.00     Q1      2010 Q1 2010 - 7T Forklift                              10_Q1_2010_040-044
 18     GBS/2009/EUA/DEC040        21,300.00     Q1      2010 Q1 2010 - Mitsu FUSO 10T Pickup
 19     GBS/2009/EUA/DEC041        11,250.00     Q1      2010 Q1 2010 - TENNANT Scrubber
 20      2009/EUA/Q22010048        81,000.00     Q2      2010 Q2 2010 - 2*3T Forklift
 21      2009/EUA/Q22010050        42,000.00     Q2      2010 Q2 2010 - 2.5T Electric Forklift
 22      2009/EUA/Q22010049        52,500.00     Q2      2010 Q2 2010 - 7T Forklift                              10_Q2_2010_046-050
 23      2009/EUA/Q22010046        21,300.00     Q2      2010 Q2 2010 - Mitsu FUSO 10T Pickup
 24      2009/EUA/Q22010047        11,250.00     Q2      2010 Q2 2010 - TENNANT Scrubber
 25     GBS/2009/EUA/Q320153       11,250.00     Q3      2010 Q3 2010 - TENNANT Scrubber
 26     GBS/2009/EUA/Q320154       81,000.00     Q3      2010 Q3 2010 - 2*3T Forklift
 27     GBS/2009/EUA/Q320100       42,000.00     Q3      2010 Q3 2010 - 2.5T Electric Forklift               10_Q3_2010_100&152-155
 28     GBS/2009/EUA/Q320155       52,500.00     Q3      2010 Q3 2010 - 7T Forklift
 29     GBS/2009/EUA/Q320152       21,300.00     Q3      2010 Q3 2010 - Mitsu FUSO 10T Pickup
 30      2009/EUA/Q32010058        44,270.00     Q3      2010 Start of Bendi 45 Forktruck - Q3 2010                 10_Q3_2010_058
 31      2009/EUA/Q42010059       265,050.00     Q4      2010 Q4 2010                                               10_Q4_2010_059
 32     GBS/2011/Q12011062        265,050.00     Q1      2011 Q1 2011                                               11_Q1_2011_062
 33     GBS/2011/Q22011065        265,050.00     Q2      2011 Q2 2011                                               11_Q2_2011_065
 34     GBS/2011/Q32011070        265,050.00     Q3      2011 Q3 2011                                               11_Q3_2011_070
 35     GBS/2011/Q42011072        265,050.00     Q4      2011 Q4 2011                                               11_Q4_2011_072
 36     GBS/2012/Q12012074        265,050.00     Q1      2012 Q1 2012                                               12_Q1_2012_074
 37     GBS/2012/Q22012076        265,050.00     Q2      2012 Q2 2012                                               12_Q2_2012_076
 38     GBS/2012/Q32012078        265,050.00     Q3      2012 Q3 2012                                               12_Q3_2012_078
 39     GBS/2012/Q42012080        265,050.00     Q4      2012 Q4 2012                                               12_Q4_2012_080
 40     GBS/2013/Q12013082        265,050.00     Q1      2013 Q1 2013                                               13_Q1_2013_082
 41         GBS/2013/085          265,050.00     Q2      2013 Q2 2013                                               13_Q2_2013_085
 42         GBS/2013/088          208,050.00     Q3      2013 Q3 2013 - Excluding Bendi Rent                        13_Q3_2013_088
 43         GBS/2013/091           42,750.00     Q3      2013 Q3 2013 - Bendi discounted rate                       13_Q3_2013_091
 44         GBS/2013/092          250,800.00     Q4      2013 Q4 2013                                               13_Q4_2013_092
 45         GBS/2013/096          250,800.00     Q1      2014 Q1 2014                                               14_Q1_2014_096
 46         GBS/2014/100          250,800.00     Q2      2014 Q2 2014                                               14_Q2_2014_100
 47         GBS/2014/104          250,800.00     Q3      2014 Q3 2014                                               14_Q3_2014_104
 48         GBS/2014/108          250,800.00     Q4      2014 Q4 2014                                               14_Q4_2014_108
 49         GBS/2014/113          239,550.00     Q1      2015 Q1 2015 - excluding Scrubber rental                   15_Q1_2015_113
 50        GBS/2015/03/01         239,550.00     Q2      2015 Q2 2015                                             15_Q2_2015_03_01
 51        GBS/2015/06/01         239,550.00     Q3      2015 Q3 2015                                             15_Q3_2015_06_01
 52        GBS/2015/09/01         239,550.00     Q4      2015 Q4 2015                                             15_Q3_2015_09_01
 53        GBS/2015/12/01         200,190.00     Q1      2016 Q1 2016 - Rental charges revised                    15_Q3_2015_12_01
              TOTAL            6,821,360.00




                                               Exhibit B-1-Jason
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ii




     AP
     II
              Invoice       Register

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                                                                         CE         49                                       21299.98        Q2   2009   Q22009                     Mitsu          FUSO               lOT       Piclwp                                  2130000
                                 Ce                                      CE         49                                        4389.58        Q2   2009   Office           supplies

                                                                         CE         49                                            3470.24    Q2   2009   Office           supplies


                                                                                                                                   665.92    Q2   200    1ffl             supplis
                                 as          lIP                         CE         2i9                                      54249.98        Q2   2009   May        Aug         2009          7T     forklift                                                                                                                               54   25000

                                                                         CE                                                  43399.99        Q2   2009   May        Aug         20092              51     forklift




                                                                                                                                   100.01    Q2   2009   bank         transfer            charges


                                                                                                                                   100.01    Q2   2009   bank         transfer            charges


                                                                         CE         2i9                                      81000.02        Q3   2009   Q2        2009                  3T    Forklift                                                                                                              81     000     00


                                                                         CE         2i9                                           9449.99    Q3   2009   not       sure      vAiat        expense                    is     this                                                                                          945000

                                       22                                                                                    11700.00        Q3   2009   not       sure      vAiat        expense                    is
                                                                                                                                                                                                                            this                                                                 II   700     00


                                                                         CE                           LN         22
                                                                                    2i9
                                                                                                                             81000.02        Q3   2009   Q3        2009                  3T    Forklift                                                                                                              81     000     00


                                             cP                          CE         2i9               LN                     21300.02        Q3   2009   Q3        2009             Mitsu          FUSO                   OT    Pickup                                  21   300     00


                                                                         CE         2i9               LN         39          11250.02        Q3   2009   Q3        2009         TENNANT                         Scrubber                                                                         11   250     00


                                                                                    2i9                                      56000.02        Q3   2009        ST     Electric            Forklift               Q4 2009

                                                         cP                         2i9                                      70000.00        Q3   2009   7T        Forklift           Q4 2009                                                                                                                                               70   00000

                                       Ce    CP          CP                                                       35
                                                                                    2i9
                                                                                                                             80999.98        Q4   2009   Q4        2009                  3T    Forklift                                                                                                              81     00000

                                 35          lIP        lIP                         2i9                           35         21399.99        Q4   2009   Q4        2009             Mitsu          FUSO               lOT       Pickup                                  21   30000

                                                                                    2i9                                      11250.02        Q4   2009   Q4        2009         TENNANT                         Scrubber                                                                         II   250     00


                                             CP          09                         49                                             ioo.oi    Q4   2009   bank         transfer            charges

                                             cP                                                                                                   2009

                                             lIP        lIP                                                                                       2009

                                 EQ                     lIiY             CE         2ff                                      80999.98        Qi   2010   QI        2010                  3T    Forklift                                                                                                              81     00000

                                                                                                                             41    999       yl   zulu ul          iulu             1ST        Electnc                    Forklift


                                                        liD              CE         2i9                                      52500.01        Q1   2010   QI        2010             7T    Forklift                                                                                                                                          5250000

                                                        liD              CE         2i9                                      21299.98        Q1   2010   QI        2010             Mitsu          FUSO               lOT       Pickup                                  21   30000

                                                         Ce              CE         2i9
                                                                                                                             11250.02        Q1   2010   QI        2010         TENNANT                         Scrubber                                                                         II   25000

                                                                                                                                   100.01    Q1   2010   bank         transfer            charges

                                       22                                                                                          100.01    Q1   2010   bank         transfer            charges

                                                                         2i9                    2i9   09                     80999.98        Q2   2010   Q2        2010                  31    Forklift                                                                                                              81     00000

                                                                         2i9                    2i9   09                     41999.99        Q2   2010   Q2        2010                  ST    Electnc                    Forklift


                                                                         2i9                    2i9   09                     52500.01        Q2   2010   Q2        2010             7T    Forklift                                                                                                                                          5250000

                                                                               09                     094                    21299.98        Q2   2010   Q2        2010             Mitsu          FUSO               lOT       Pickup                                  21   30000

                                                                               09                     09                     11250.02        Q2   2010   Q2        2010         TENNANT                         Scrubber                                                                         II   25000

                                                                                                                                   100.01    Q2   2010   bank         transfer            charges

                                       49                                           2ff                                      11250.00        Q3   2010   Q3        2010         TENNANT                         Scrubber                                                                         II   25000

                                       49                                CE         49                                       81000.00        Q3   2010   Q3        2010                  3T    Forklift                                                                                                              81     00000

                                       2i9                               CE         201                               09     42000.00        Q3   2010   Q3        2010             251        Electnc                    Forklift


                                       49                                CE         49                                       52500.00        Q3   2010   Q3        2010             7T    Forklift                                                                                                                                          52   50000

                                       49                                CE         2ff                                      21300.00        Q3   2010   Q3        2010             Mitsu          FUSO               lOT       Pickup                                  21   30000

                                                                                                      09
                                                                         2i9                    2i9
                                                                                                                             44270.00        Q3   2010   Start        of    Bendi         45        Forktruck                      Q3    2010      44270     00


                                                                                                      F-C                          100.01    Q3   2010   bank         transfer            charges

                                                   22                    2i9                    2i9   09                    265150.01        Q4   2010   Q42010                                                                                    5700000              2130000                  1125000             8100000                5250000

                                                                         CE         2i9                     05              265    075.00    Q1   2011   QI        2011                                                                            57000     00         21   30000               II   250     00     81     00000           52   50000

                                                                         CE                                 05
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                                                                                                                            265    075.00    Q2   2011   Q2        2011                                                                            57000     00         21   300     00          II   250     00     81     000     00      52   50000

                                       39          39                    CE         49                                      265075.00        Q3   2011   Q32011                                                                                    5700000              2130000                  1125000             8100000                5250000

                                       22                                CE         49                                      265075.00        Q4   2011   Q42011                                                                                    5700000              2130000                  1125000             8100000                5250000

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                                                                         CE         49                                      265075.00        Q1   2012   QI        2012                                                                            5700000              2130000                  1125000             8100000                5250000

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                                                                                                                            265099.99        Q3   2012   Q32012                                                                                    5700000              2130000                  1125000             8100000                5250000

                                 60                                      CE         49                      C8              265099.99        Q4   2012   Q42012                                                                                    5700000              2130000                  1125000             8100000                5250000
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                                       22                                CE         49                                      250850.01        Q4   2013   Q42013                                                                                    4275000              2130000                  1125000             8100000                5250000
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                                                                         CE         49     09                               250850.01        Q2   2014   Q22014                                                                                    4275000              2130000                  1125000             8100000                5250000
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                                                                                    49                                      250850.01        Q4   2014   Q42014                                                                                    4275000              2130000                  1125000             8100000                5250000

                                                                                    49                                      239    550.00    Q1   2015   Qi        2015                                                                            4275000              21   30000                                   81     00000           5250000
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                                                                         CE         49                                      239599.99        Q2   2015   Q22015                                                                                    4275000              2130000                                      8100000                5250000

                                                                                    49    05                                239599.99        Q3   2015   Q32015                                                                                    4275000              2130000                                      8100000                5250000

                                                                         CE         49    CP                                239565.01        Q4   2015   Q42015                                                                                    4275000              2130000                                      8100000                5250000

                                35                                                  49                                      200205.00        Q1   2016   QI        2016                                                                            4275000              1704000                                      6480000                4200000

     Total   frr
                   Report                                      1885116                                                     6831740.79                                                                                                           1141520.00             592140.00                259200.00          2261250.00            1426250.00




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                                              Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 8 of 48

ii




                                                -c
                                                                     Agrement                    srtda                      in        lSth       Mar       2009

                          21     300     00                                                                                                            Dubai


                                                        389     58   Office        suppli

                                                      3470      24   Office        suppli

                                                        66502        Offie         suppli
                          54250          00                  002           ton     Egypt         Jun          Aug                from        27th         May09
        43400     00      43400          00                  001     25      ton      Egypt            Jun      Aug                   from         27th        May09
                                                        10001

                                                        10001

                          8100000                             002

                               945000                        00119th             Mar       to    31st          Mar      2009

                          1170000                            000
                          8100000                             002

                          2130000                             002

                          1125000                             002

        5600000           56000          00                   002    25      ton      Egypt             Sep         Dec09

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                          21     300     00                  002
                          1125000                             002

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                          81    000      00                  002
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                          5250000                             001

                          21     300     00                  002
                          1125000                             002

                                                        10001

                          II     250     00


                          81     000     00


        42000     00      42000          00


                          52500          00


                          21     300     00


                          44270          00                  000     Added           Bendi            Truck          here                Usual            rate          is   19      000/mth


                                                        10001

        42000     00    265      05000                  10001        Includes              all
                                                                                                 equipment                       in    invoice            at     lUll        rates


        42000     00    265      05000                   2500

        42000     00    265      05000                   2500

        42000     00    265      05000                   2500

        4200000         265      05000                   2500



        42000     00    265      05000                   2500

        42000     00    265      05000                   4999

        42000     00    265      05000                   4999

        42000     00    265      05000                   4999

        4200000         26505000                        10001

        42000     00    265      05000                   4999

        42000     00    208      05000                   5001        All
                                                                             equipment                  less        Bendi              shown           seperately                    below        as   discounted


                          42750          00              5002        Bendi         truck         w/      discount


        4200000         25080000                         5001

        42000     00    250      80000                   5001

        42000     00    250      80000                   5001

        42000     00    250      80000                   5001

        4200000         25080000                         5001

        4200000         23955000                              000    All
                                                                             equipment                  less        discount                 ion       bendi             truck       and       scrubber


                                                         4999

        4200000         239      55000                   4999

       42000      00    239      55000                   4999

        4200000         23955000                             1501

        3360000         20019000                             1500    All
                                                                             equipment                  discounted


     1141000.00        6821360.00                    10380.81                                                                                                                                                  6831741




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OD                                                                                                                                                                                         Exhibit B-1-Jason Pack Dec 2.9.18
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          Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 9 of 48
                                                                  EQUIPMENT     DIVISION             Date June      2009



                                                       INVOICE     NO   X1080609002


               MS      INTEGRATED   MAINTENANCE FOR PETROLEUM EQUIPMENT COMPANY
                       PLOT            THE
                                     47 ACER AREA EAST OF ELROBAIKY
                       THE INDUSTRIAL AREA BADR CITY
                       EGYPT


                                                                                                     UNIT         TOTAL
                                                   DESCRIPTION                                      PRICE         PRICE
                                                                                                    AED           AED
                      CATERPILLAR          EP25K     ELECTRIC      FORKLIFT   TRUCK
                WITH    ATTACHMENT

                          ORDER NO                    LEO8AIO3


                          SERIAL       NO             ETB8C5I 643


                       YEAR     MODEL                 2009


                                                      PRICE
                                                                                                  138500/-       138500.00


                          AED      ONE HUNDRED           THIRTHY    EIGHT THOUSAND         FIVE
                                                                              HUNDRED   ONLY
               NO  OF PACKAGES                          ONE UNIT ONLY
               MANUFACTURER                             M.C.F.E
               COUNTRY OF ORIGIN                        THE NETHERLANDS
               TOTAL WEIGHT                             5215 KG



               THISTO CERTIFY THAT THE ABOVE UNIT IS OF
                                                           NETHERLANDS
               ORIGIN   AND  THAT   IT DOES  POT   CONTAIN  ANY  ISRAELI
               MATERIAL   NOR WAS IT SHIPPED     ANY VESSEL DESIGNATED
               TOCALLATANYISRAELIPORT


                          For   MOHAMED




                                         MC


                                   RUUULflAJIMAN    AL-MH

                                                                                                                  .7-




                        8RANCHES




                                                    Exhibit B-2-Jason Pack Dec 2.9.18

CONFIDENTIAL                                                                                                       NOV-FM-Ui 982
         Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 10 of 48
                                                                   EQUIPMENT         DIVISION            Date June    2009


                                                         INVOICE      NO   X1080609001


               MS      INTEGRATED MAINTENANCE FOR PETROLEUM
                                                                EQUIPMENT COMPANY
                       PLOT     THE 47 ACER AREA EAST OF
                                                         ELROBAIKY
                       THE INDUSTRIAL AREA BADR CITY
                       EGYPT




                       CATERPILLAR      OP7OT      DIESEL      FORKLIFT          TRUCK
                WITH    ATTACHMENT

                           ORDER       NO            LDO7XIO3I

                           SERIAL      NO           T20C63967

                       YEAR     MODEL               2008



                                                     PRICE
                                                                                                   206000/
                                                                                                               22200.oo
                                    AED TWO        HUNDRED         AND     SIX   THOUSAND   ONLY
               NO OF PACKAGES
         II
                                                         ONE   UNIT   ONLY
               MANUFACTURER                              M.C.F.E
               COUNTRy OF ORIGIN                         JAPAN
               TOTAL WEIGHT
                                                         9840 KG



               THIS TO CERTIFY THAT THE ABOVE
                                               UNIT IS OF JAPAN ORIGIN
               AND THAT IT DOES NOT CONTM
                                             ANY ISRAEIJ MATERIAL NOR
               WAS IT SHIPPED ON ANY
                                       VESSEL DESIGNATED TO CALL AT
               ANY ISRAELI PORTS


                                                                      7/
                          For   MOHAMED       ADULHAALBAHAR
                                         .H




                                                                                                    ..
                       MOHAMrj ABDULRAHMAN    AL-BAHAR




                       BRANCHES.....




                                                 Exhibit B-2-Jason Pack Dec 2.9.18

CONFIDENTIAL                                                                                                         NOV-FM-Ui 966
                    Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 11 of 48




  From                                          Airousan    Yasmina

  Sent                                          Monday     July   19 2010   756   AM
  To                                            Sadagopan     Sadeesh

  Subject                                       FAX

  Attachments                                   doc19072010161526.pdf




  Kindly     find   fax   attached



  Sincerely



  Yasmina Rousan



                  NATIONAL          OILWELL    VAR CO


  R/A-13         Daimler Chrysler     Street

  Jebel    All   Free   Zone     Dubai-UAE

  Tel     9714883         8776

  Fax     9714      883 8795

  Mobile         971    50 557 0273

  E-mail     Yasmina.Alrousan@nov.com

  www.nov.com




                                                           Exhibit B-2-Jason Pack Dec 2.9.18

CONFIDENTIAL                                                                                   NOV-FM-06043
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                                                                                                                                  Date         July        17 2010
   _______________________

                                                PROFORMA                         INVOICE                NO        XPO1 69/10

                  To           Global Business Supply
                Fax            04         883 8795
                Attn           Mr        Iftikar


                 Cc Mr                   Sadeesh                           Sadagopan Vice President                                   Administration
                               National                  Oilwell           Varco Jebel Ali Free Zone                                  IJ.A.E


                                                                                                                                  UN   IT                  TOTAL
                                                         DESCRIPTION                                                             PRICE                     PRICE

                                                                                                                                 AED                       AED
                              BENDI           ELECTRIC                 MULTI-PURPOSE                     ARTICULATED
                FORKLIFT         TRUCK MODEL                         B45     AC     BASIC CAPACITY                      2045
                Kgs 4500 LBS                         600     mm Load             Center

                Order         no                             Serial no
                                                             _______                                    Year Model
                                                                                                        _________
                 TK1OXOO2                    545/48A0-1                005A-061         73                      2010
                 DFIOXO39                              EAt        169078-DiD                                    -NIL-

                Eauipped         with

                Mast    Dimension            Lifting       Height            7010mm
                Overalt       Height Lowered                       3099    mm
                Free   Lift    2159      mm Fork           Length            1016mm
                Capacity           2045      kg       to   lift
                                                                    height       3962    mm             600     mm      Load
                Centre         Residual         Capacity                  1389    mm to        lift
                                                                                                       height    7010     mm
                   Load Centre                  11.22         285         mm      Stroke       Side     Shifter     Baffery
                48V    165      All            Hours Discharge                   and 380V             50 Cycle          Phase

                Charger            hrs
                                                                    _______________
                Made      in   U.S.A                                 Year Model     2010

                  Net Price Per               UnIt
                                                                                                                                                       243000.00
                  Less        down
                            payment                                                                                                                     43000.00
                  Balance amount to be paid                                                                                     20000O/                200000.00

                  AED         Two Hundred                  Thousand              Only

                General Term                         Conditions

                Delivery                     By 21/07/2010

                Payment                      HSBC Middle                   East

                                             P.O.Sox 66 Deira                     Branch
                                                      AED          025-03018-001
                                             Swift       Code BBME                AE    AD
                Warranty                         year          or    2000        hours        which       ever     comes
                                             first    standard             warranty
                ViaIidlty                    isdays

                       For     MOHAMED                     ABDULRAI-IMAN                      AL BAHAR




                                              MahmoUdAI                       Hai
                                          Account                 Manager

                                   MOFIAMED          ADULRAHMANAL-BAHAR                 tiC                                                       jJ..li    Cr4ktI   4t sna      ASj.
                                   P.O.Box   6U2      Shariali-U.A.E                                                                           jaiIL           Uk4JL.J      tA


                                 Tel     971-6-5433555                                                                                                          W%
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                                 Webaiw        www.olbaliiir.cuni                                                                                  wwwalbaflar.uurn




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CONFIDENTIAL                                                                                                                                                   NOV-FM-06044
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                   Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 13 of 48                                                                                                                                   §’            .
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                  Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 14 of 48

     Iqbal          Nishath


     From                                                  Mogallan       Bhagat      mogallan.bhagat@Kanoo.com
     Sent                                                  Monday         April   25 2016       501 PM
     To                                                    Alotaibi   Fadi

     Subject                                                                   RE Tenant        Floor   Scrubber

     Attachments                                           QNRH160405163_1_SalesQuotation                      2016-04-25          16-52-56.pdf            5700   Brochure.pdf




     Dear Mr Fadi


     Thank you for your enquiry as discussed                                please        see   attached    quote        for   your    kind      consideration       the 2009

     price of Tennant 5700 machine we used                                to   sale        AED      49000/-        If
                                                                                                                        you    provide      sr   no   of   your   machine
     would         be    in   better    position      to   provide    you       correct     price


     If
          you need more           details         please   let   me know          thanking       you    and look forward              to   receive     your valued       order


     Best regards



     OUR NEW PRODUCT                              AERIAL ACCESS PLATFORMS




                                o.Q
                                _-p_

     Mogallan            Bhagat
     Sales        Manager      Industrial     Products



     Kanoo Machinery LLC
     P.O.Box            290 Dubai       U.A.E
     Direct          971       8015     221
     Mobile          971      50 5358       689
     Email              mogallan.bhagatkanoo.com

                                                                 Many       opportunities               One address
                                                                                  www.kanoo.com




          K.nIQ    AMn
                                         GROWE                   Bobcat        PerkIns          SAKAR       s4                 HITACHI                                      csuI




                                                                    Exhibit B-2-Jason Pack Dec 2.9.18

CONFIDENTIAL                                                                                                                                                           NO V-FM-U   196
                    Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 15 of 48

           Kanoo          Machinery          LLC
                  Licence      No 203384                                                                                                                                                                                                   203384jLiiL..I
                  Register         No     43426                                                                                                                                                                                            43426             L...sl      j.j1
           RO        Box      290        Dubal                                                                                                                                                                                              _____                             LJ.J.O

           United           Arab    Emirates                                                                                                                                                                                                              a...ji       SJLAVl
           Tall     Free800KANOO                                                                                  Kanoo Machinery                                                                                                          AANILaL
           www.kanoo.com                                                                                                member        of    The Kanoo            Group                                                                     www kanoo.com



                                                                                                                               QUOTATION
           _________________________________________
     TIONAL                        OILWELL
                                                                                                                                                                               Quotation                     No                                QNRH160405163/1

       P.O.BOX                 61490                                                                                                                                           Date                                                                                 25/04/2016

       JEBEL              ALl                                                                                                                                                  Page            No
       UNITED                ARAB            EMIRATES

     AX            NO838795

       Attention                    Of                     MR      FADI          ALOTAIBI

       Contact                Person                       MOGALLAN                   RAJARAM             BHAGAT               Mob              971505358689
       Your           Reference                            TENNANT               5700           SCRUBBER                 on                                                   Valid            Upto                          25/05/2016
                                                           25/04/2016
       Subject                 to       prior              sales


                       Item             Supplier                 Code/Product                     Code/                       UOM                               Quantity                              Unit        Price                                    Total         Price
                             No         Description                                                                                                             Required                                              AED                                                          AED
                                        TS     570O                                                                            EA                                                                           48000.00                                                 48000.00
                                        WALK        BEHIND              .SCRUBBER                       BAtTERY
                                        CLEANING                  PATH           --     800        MM
                                        SOLUTION                 TANK            CAPACITY               --        114     LIT
                                        RECOVERY                 TANK            CAPACITY               --        151     LIT
                                        36          BATTERY                   WITH        AUTOMATIC                  CHARGER
                                        ALL      MANUALS
                                        DELIVERY-          EX   STOCK       SUBJECT       TO    PRIOR     SALE      IN   THE   EVENT OF STOCK                   UNIT    SOLD THE

                                        DEL IVERY     WILL        BE   12   TO    14    WEEKS
                                        ORIGIN       TENNANT                EUROPE

                                        PAYMENT                    KANOO               STANDARD              TERMS           CONDITIONS
                                                                                                                              AND
                                        WARRANTY    ONE YEAR  OR 1000                                               HRS  WIICHEVER COMES                                       FIRST            FOR
                                        ANY MANUFACTURING   DEFECTIVE                                                PARTS


                                                                                                                                                                                               Less         Discount                                                 2000.00




     AED    Forty-Six               Thousand                    only                                                                                                                                        Net   Total                                               46000.00

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     bhagat.ASSSTANT               MANAGER          SAL          25/04/2016        O443.9PH




           Dubal      Branch                                                                                                    Inventory      Control           Purchasing


           Sales                                                                                                                Tel   971       886     3555
                                                                                                                                                                                                                                             so

           Trunk     Line    971     48863555                                                                                   Fax    971     48863535
           Tel      971      801    5222   Fax      971     48863535           E-mail    machinery.uaekanoaao                                                                                                                                Ctnftlcale
                                                                                                                                Logistics

           Pars                                                                                                                 Tel   97         3472472
                                                                                                                                                                                                                                                                             125


           Tel 971          43479794          Fax 971       43479179           E-mail    nidpaflsdxb     Kanoo.ae               Fax    971            3473344


           Workshop                                                                                                             E-mail      kanooicp@kanoo.ae
                                                                                                                                                                                Ql   t.-                                        JLl
           Tel .971 43472962                  Fax   r971    43472056           E-mail    serviceadniin@kanoo.ae                 www.kanoocom.com                                     limited    Liability   Company   with    registered     share        capital    oIAED    300000




                                                                                                       Exhibit B-2-Jason Pack Dec 2.9.18

CONFIDENTIAL                                                                                                                                                                                                                                                  NOV-FM-01960
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                        Exhibit B-2-Jason Pack Dec 2.9.18
                                             Case 4:16-cv-02261 Document 120-1 Filed on 02/09/18 in TXSD Page 24 of 48


Source    Transaction Date   Bank Subpeona Bank / NOV Bank            Amount          Originator                Notes Beneficiary                  Beneficiary Account Number   Originator Account Number Viyatek       GBS
APM Payme 10/26/2010         CITIBANK                                  1,171,440.69   NATIONAL OILWELL VARCO LP       Viya Teknoloji Uygulamalar   CH68 0868 9050 9168 5473 5   000004159795715              183,542.69    987,898.00
Subpoenas 11/16/2010         HSBC PRIVATE BANK SUISSE SA                 987,898.00   VIYATEK INTERNATIONAL LTD       GLOBAL BUSINESS SUPPLY FZE   35631993001                  CH6808689050916854735
APM Payme 3/7/2011           CITIBANK                                  1,138,480.59   NATIONAL OILWELL VARCO LP       Viya Teknoloji Uygulamalar   CH68 0868 9050 9168 5473 5   000004159795715              201,893.59    936,587.00
Subpoenas 04/07/2011         STANDARD CHARTERED BANK DUBAI TREASURY       71,617.00   VIYATEK INTERNATIONAL           GLOBAL BUSINESS SUPPLY       01206122601                  CH6808689050916854735
Subpoenas 05/02/2011         STANDARD CHARTERED BANK DUBAI TREASURY      264,985.00   VIYATEK INTERNATIONAL           GLOBAL BUSINESS SUPPLY       01206122601                  CH6808689050916854735
Subpoenas 05/19/2011         STANDARD CHARTERED BANK DUBAI TREASURY      599,985.00   VIYATEK INTERNATIONAL           GLOBAL BUSINESS SUPPLY       01206122601                  CH6808689050916854735

                                                                       2,309,921.29                                                                                                                         385,436.29   1,924,485.00




                                                                                           Exhibit C-Jason Pack Dec 2.9.18
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                                                                                                                  $ 177,218.83
                                         TOTALS                                     3,533,802.65   2,878,092.99     655,709.67   OMR 31,875
          Date                                 Details                                 Receipt         Paid         Balance
          1-Sep-10     cash received                                                   10,000.00            -        10,000.00
         25-Sep-10     Visa bill                                                              -        1,750.00       8,250.00
         26-Oct-10     Visa bill                                                              -           65.00       8,185.00
         30-Nov-10     Visa bill                                                              -        2,661.00       5,524.00
          1-Dec-10     To Eliane for Dates                                                    -        1,690.00       3,834.00
         10-Dec-11     To Eliane for Dates                                                    -          125.00       3,709.00
                       Cash $5K received                                               18,000.00            -        21,709.00
          5-Jan-11     Visa bill                                                              -       20,817.00         892.00
         15-Jan-11     cash received                                                   50,000.00            -        50,892.00
                       Key chain - Eliane                                                     -          400.00      50,492.00
           3-Feb-11    Visa bill                                                              -        1,355.00      49,137.00
          1-Mar-11     Visa bill                                                              -        2,703.00      46,434.00
         27-Mar-11     Visa bill                                                              -        7,090.00      39,344.00
         20-Apr-11     Eliane - taxes on air tkts                                             -          375.00      38,969.00
         26-Apr-11     Visa bill                                                              -        2,320.00      36,649.00
         28-Apr-11     Cash from NOV                                                    4,220.00            -        40,869.00
          8-May-11     Air tickets - Mukhtar                                                  -        3,825.00      37,044.00
           1-Jun-11    Visa bill                                                              -          519.20      36,524.80
          23-Jun-11    Air France                                                             -        2,020.00      34,504.80
          23-Jun-11    Air France                                                             -        2,950.00      31,554.80
          26-Jun-11    Cash from Majed                                                 39,100.00            -        70,654.80
          26-Jun-11    air France taxes                                                       -          440.00      70,214.80
            5-Jul-11   Visa bill                                                              -           72.00      70,142.80
           26-Jul-11   Transarabian                                                           -        1,080.00      69,062.80
         25-Aug-11     Visa bill                                                              -        8,600.00      60,462.80
         28-Aug-11     Visa bill                                                              -       19,000.00      41,462.80
                       Dividends ($200K) + 75K AED (DG apt sale) - expen              283,520.15            -       324,982.95
                       cash                                                                   -       40,000.00     284,982.95
         29-Aug-11     1/4th from apartment sale of 240K                               60,000.00            -       344,982.95
         29-Aug-11     1/4th for Sohail visa cost - advance paid AED 5K                       -        1,250.00     343,732.95
         29-Aug-11     expenses settled to Khani (84821/4)                                    -       21,205.00     322,527.95
         23-Sep-11     JLT - 40000/4                                                   10,000.00            -       332,527.95
         27-Sep-11     Visa bill                                                              -        1,972.07     330,555.88
          3-Oct-11     Cash                                                                   -       10,000.00     320,555.88
          4-Oct-11     $15K converted                                                         -       55,095.00     265,460.88




Cash account.xlsx                                                          Exhibit D-Jason1Pack Dec 2.9.18                                    NOV-FM-06508
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           9-Oct-11    cash                                                                -     250,000.00    15,460.88
           3-Nov-11    Visa bill                                                           -         318.26    15,142.62
         10-Nov-11     AED10K/4 - deposit from JLT6                                   2,500.00          -      17,642.62
         28-Nov-11     JLT - 40000/4                                                 10,000.00          -      27,642.62
         28-Dec-11     Visa bill                                                           -         738.53    26,904.09
           5-Feb-12    Eliane charged airfares EUR 1384.50                                         6,995.15    19,908.94
         10-Feb-12     JLT - 40000/4                                                 10,000.00          -      29,908.94
         19-Mar-12     from KZ                                                       20,000.00          -      49,908.94
         20-Mar-12     $ 10K converted                                                     -      37,000.00    12,908.94    2 POB renew    2,520.00
         15-Apr-12     Lic renewals                                                        -       1,380.00    11,528.94       Audit rep   3,000.00
         21-Apr-12     div - 300/4                                                   75,000.00          -      86,528.94                   5,520.00   1,380.00
         21-Apr-12     KZ for USD                                                          -      20,000.00    66,528.94
         21-Apr-12     MH for USD                                                          -      20,000.00    46,528.94
         21-Apr-12     SS for USD                                                          -      20,000.00    26,528.94
         29-Apr-12     Visa bill                                                           -      12,018.18    14,510.76
          7-May-12     To Eliane for airtickets - $3465 @ 3.68                             -      12,751.00     1,759.76
          7-May-12     div - 300/4                                                   75,000.00          -      76,759.76
          27-Jun-12    USD 5435 thro' MH                                                   -      20,000.00    56,759.76
            1-Jul-12   Maintenance paid for JLT #6                                         -       4,737.88    52,021.89
           3-Aug-12    div - 300/4                                                   75,000.00          -     127,021.89
           3-Aug-12    paid to MH                                                          -      50,000.00    77,021.89
         23-Aug-12     Visa bill                                                           -      10,000.24    67,021.65
         24-Aug-12     Yasin's charity contribution (RS driver in KSA)                     -         500.00    66,521.65
         28-Aug-12     Visa bill                                                           -       5,840.10    60,681.55
         22-Sep-12     JLT - 40000/4                                                 10,000.00          -      70,681.55
         24-Sep-12     Cash to MH for FM                                                   -      10,000.00    60,681.55
         24-Sep-12     for USD conversion                                                  -      60,000.00       681.55
           4-Oct-12    for USD conversion                                                  -      32,500.00   (31,818.46)
           5-Oct-12    for USD conversion                                                  -      32,500.00   (64,318.46)
           6-Oct-12    cash w/drawl - $20K                                           73,400.00          -       9,081.55
          23-Oct-12    Visa bill                                                           -      32,512.00   (23,430.46)
          24-Oct-12    Div - 888500/4                                               222,125.00          -     198,694.55
          25-Oct-12    to Eliane                                                           -       3,250.00   195,444.55
         27-Nov-12     JLT - 40000/4                                                 10,000.00          -     205,444.55
            9-Jan-13   Xmas gift - Kosay                                                   -         300.00   205,144.55
           5-Feb-13    for USD conversion                                                  -      36,750.00   168,394.55
           5-Feb-13    for USD conversion                                                  -      36,750.00   131,644.55
           5-Feb-13    for USD conversion                                                  -      36,800.00    94,844.55




Cash account.xlsx                                                        Exhibit D-Jason2Pack Dec 2.9.18                                              NOV-FM-06508
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           5-Feb-13    Cash                                                   -      20,000.00    74,844.55
           6-Feb-13    for USD conversion                                     -      36,750.00    38,094.55
          25-Feb-13    Visa bill                                              -       5,961.48    32,133.07
         27-Mar-13     Visa bill                                              -         574.00    31,559.07
         27-Mar-13     Transarabian                                           -      93,250.00   (61,690.94)
         30-Mar-12     Cash drawn - 30K accounted                      110,100.00          -      48,409.07
          14-Apr-13    Transarabian                                           -       3,750.00    44,659.07
          22-Apr-13    JLT - 40000/4                                    10,000.00          -      54,659.07
          6-May-13     Transfer - $5K                                         -      18,390.00    36,269.07
         23-May-13     Mansour & Renee - $ 5188 + charges                     -      19,080.54    17,188.53
            5-Jul-13   Transfer - $5.25K                                      -      19,306.94    (2,118.41)
            5-Jul-13   JLT - 40000/4                                    10,000.00          -       7,881.59
            7-Jul-13   Dividend                                         30,000.00          -      37,881.59
           28-Jul-13   Visa bill                                              -       8,707.71    29,173.88
         28-Aug-13     Visa bill                                              -      14,991.67    14,182.21
         30-Aug-13     $12K Div                                         44,000.00          -      58,182.21
         30-Aug-13     Div                                              32,000.00          -      90,182.21
           2-Sep-13    trf to MH - for $8K                                    -      30,000.00    60,182.21
          19-Sep-13    JLT - 40000/4                                    10,000.00          -      70,182.21
         14-Nov-13     USD 7000 @ 3.68 - to MH                                -      25,760.00    44,422.21
         13-Nov-13     Cash - to KZ                                           -      10,000.00    34,422.21
         23-Nov-13     Div                                              24,000.00          -      58,422.21
         27-Nov-13     Visa bill                                              -       5,142.00    53,280.21
            5-Jan-14   Patchi for Kosay                                       -         385.00    52,895.21
          20-Jan-14    Div                                              65,000.00          -     117,895.21
          28-Jan-14    to Eliane Dahrouj                                      -      30,000.00    87,895.21
          20-Feb-14    transferred                                            -      20,000.00    67,895.21
         23-Mar-14     Div                                              62,500.00          -     130,395.21
         23-Mar-14     convert $10K - FM                                      -      36,750.00    93,645.21
         24-Mar-14     convert $10K - FM                                      -      36,750.00    56,895.21
         30-Mar-14     Cash - FM                                              -      10,000.00    46,895.21
           3-Apr-14    Cash to ED for courier                                 -         500.00    46,395.21
          27-Apr-14    Visa bill                                              -         679.00    45,716.21
          27-Apr-14    transferred - IAH - $4K                                -      15,148.47    30,567.74
          27-Apr-14    JLT - 40000/4                                    10,000.00          -      40,567.74
          29-Apr-14    Div recd                                               -            -      40,567.74    OMR 13,125
          1-May-14     convert OMR 13,125                              124,687.50          -     165,255.24
          1-May-14     convert $10K - MH                                      -      36,750.00   128,505.24




Cash account.xlsx                                           Exhibit D-Jason3Pack Dec 2.9.18                                 NOV-FM-06508
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          6-May-14     IWC - to KZ                                           -      36,500.00    92,005.24
         19-May-14     KZ for USD                                            -      22,000.00    70,005.24
            1-Jun-14   MH for USD 3K                                         -      11,025.00    58,980.24
            4-Jun-14   Transarabian                                          -      94,460.00   (35,479.77)
          20-Jun-14    Div                                             70,000.00          -      34,520.24
           9-Aug-14    Visa bill                                             -      15,000.00    19,520.24
         12-Aug-14     Div recd                                        71,400.00          -      90,920.24     OMR 7,500
         25-Aug-14     Visa bill                                             -      16,875.00    74,045.24
          15-Sep-14    Shop - 130000/4                                 32,500.00          -     106,545.24
          24-Sep-14    USD 12K convert                                       -      44,100.00    62,445.24
          24-Sep-14    Cash                                                  -      30,000.00    32,445.24
          29-Oct-14    Div recd                                        65,000.00          -      97,445.24
           6-Nov-14    USD 15K convert                                       -      55,125.00    42,320.24
         11-Nov-14     Visa bill                                             -       7,576.09    34,744.15
           9-Dec-14    Visa bill                                             -       1,180.00    33,564.15
         16-Dec-14     USD 20K convert                                       -      73,500.00   (39,935.85)
          11-Jan-15    Visa bill                                             -      12,902.00   (52,837.85)
          16-Jan-15    Div recd                                       106,875.00          -      54,037.15    OMR 11,250
          16-Jan-15    USD 8K convert                                        -      29,400.00    24,637.15
           2-Feb-15    Visa bill                                             -         616.11    24,021.04
          19-Feb-15    From MH                                         73,000.00          -      97,021.04
          20-Feb-15    USD 20K convert                                       -      73,500.00    23,521.04
          20-Feb-15    Cash from MH                                     7,000.00     7,000.00    23,521.04 directly handed over
         12-Mar-15     Div 140/4                                       35,000.00          -      58,521.04
         15-Mar-15     Shop - 130000/4                                 32,500.00          -      91,021.04
         16-Mar-15     Rtd to MH                                             -       7,000.00    84,021.04
         16-Mar-15     Rtd to MH                                             -      73,000.00    11,021.04
         19-Mar-15     Paid to KZ for T/L renewal - 25/4                     -       6,250.00     4,771.04 25 / 4
           5-Apr-15    Div 126/4                                       31,500.00          -      36,271.04
           6-Apr-15    Visa bill                                             -      20,048.00    16,223.04
          4-May-15     Div 60/4                                        15,000.00          -      31,223.04
          5-May-15     Div 90/4                                        22,500.00          -      53,723.04
          6-May-15     Div 80/4                                        20,000.00          -      73,723.04
         19-May-15     USD 20K convert                                       -      73,600.00       123.04
         24-May-15     Turkish Airlines - Transarabian                       -      30,940.00   (30,816.97)
         24-May-15     Turkish Airlines - Transarabian                       -      49,830.00   (80,646.97)
         25-May-15     Div 480/4                                      120,000.00          -      39,353.04
         26-May-15     Transarabian                                          -       1,830.00    37,523.04




Cash account.xlsx                                          Exhibit D-Jason4Pack Dec 2.9.18                                        NOV-FM-06508
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         27-May-15     Visa bill                                          -      16,000.00    21,523.04
            9-Jun-15   Div 720/4                                   180,000.00          -     201,523.04
            9-Jun-15   USD 40815                                          -     150,000.00    51,523.04   to MH
            9-Jun-15   For watch - sent thro' RR                          -       5,400.00    46,123.04   to MH
          29-Jun-15    Visa bill                                          -         694.00    45,429.04
          30-Jun-15    Transarabian - change fees                         -       4,770.00    40,659.04
           23-Jul-15   Div 160500/4                                 40,125.00          -      80,784.04
         10-Aug-15     Visa bill                                          -       4,626.24    76,157.80
         18-Aug-15     Div 360/4                                    90,000.00          -     166,157.80
         27-Aug-15     Visa bill                                          -      14,751.00   151,406.80
          16-Sep-15    Shop - 130000/4                              32,500.00          -     183,906.80
          28-Sep-15    $ 20K convert                                      -      73,480.00   110,426.80
          14-Oct-15    $ 20K convert                                      -      73,562.00    36,864.80
           4-Nov-15    Etisalat bill paid                                 -          49.00    36,815.80
         12-Nov-15     Visa bill                                          -      32,311.38     4,504.42
         15-Nov-15     Div                                         500,000.00          -     504,504.42
         30-Nov-15     Visa bill                                          -         179.00   504,325.42
         12-Dec-15     Convert $ 27222                                    -     100,000.00   404,325.42
         15-Dec-15     Etisalat bill paid                                 -         157.00   404,168.42
         31-Dec-15     Visa bill                                          -      45,310.50   358,857.92
            3-Jan-16   Etisalat bill paid                                 -         366.10   358,491.82
            3-Jan-16   Div received                                145,000.00          -     503,491.82
          13-Feb-16    Etisalat bill paid                                 -          49.00   503,442.82
          20-Feb-16    Div received                                 75,000.00          -     578,442.82
          22-Feb-16    Convert $20380                                     -      75,000.00   503,442.82   Kempinski
          25-Feb-16    Div received                                 50,000.00          -     553,442.82
          25-Feb-16    Div received                                 37,500.00          -     590,942.82
           5-Mar-16    Cash                                               -      25,000.00   565,942.82   Kempinski
         15-Mar-16     Dividend - ECOD                              50,000.00          -     615,942.82
         17-Mar-16     Shop - 130000/4                              32,500.00          -     648,442.82
         16-Mar-16     dividend - Marvelous                          8,750.00          -     657,192.82
         30-Mar-16     Visa bill                                          -       1,483.15   655,709.67




Cash account.xlsx                                       Exhibit D-Jason5Pack Dec 2.9.18                               NOV-FM-06508
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Element Register
Last      First                  Effective     Monthly
                   Middle Name
Name      Name                   date          Salary

Zantout   Khaled   Ahmed Tarek   25-Nov-09               22500
Zantout   Khaled   Ahmed Tarek   14-Dec-09
Zantout   Khaled   Ahmed Tarek   22-Dec-09               22500
Zantout   Khaled   Ahmed Tarek    26-Jan-10              22500
Zantout   Khaled   Ahmed Tarek    26-Jan-10
Zantout   Khaled   Ahmed Tarek    23-Feb-10              22500
Zantout   Khaled   Ahmed Tarek   25-Mar-10               22500
Zantout   Khaled   Ahmed Tarek   25-Mar-10
Zantout   Khaled   Ahmed Tarek    25-Apr-10
Zantout   Khaled   Ahmed Tarek    25-Apr-10          22500
Zantout   Khaled   Ahmed Tarek   26-May-10           24075
Zantout   Khaled   Ahmed Tarek    25-Jun-10        27408.33
Zantout   Khaled   Ahmed Tarek     26-Jul-10       27408.33
Zantout   Khaled   Ahmed Tarek   26-Aug-10           30121
Zantout   Khaled   Ahmed Tarek   26-Aug-10
Zantout   Khaled   Ahmed Tarek    25-Sep-10
Zantout   Khaled   Ahmed Tarek    25-Sep-10              30121
Zantout   Khaled   Ahmed Tarek    26-Oct-10              30121
Zantout   Khaled   Ahmed Tarek    26-Oct-10
Zantout   Khaled   Ahmed Tarek   25-Nov-10               30121
Zantout   Khaled   Ahmed Tarek   22-Dec-10               30121
Zantout   Khaled   Ahmed Tarek    25-Jan-11              30121
Zantout   Khaled   Ahmed Tarek    25-Jan-11
Zantout   Khaled   Ahmed Tarek    24-Feb-11              30121
Zantout   Khaled   Ahmed Tarek   26-Mar-11               30121
Zantout   Khaled   Ahmed Tarek    25-Apr-11              30121
Zantout   Khaled   Ahmed Tarek   25-May-11               30121
Zantout   Khaled   Ahmed Tarek    25-Jun-11              30121
Zantout   Khaled   Ahmed Tarek     25-Jul-11             30121
Zantout   Khaled   Ahmed Tarek     25-Jul-11
Zantout   Khaled   Ahmed Tarek   25-Aug-11               30121
Zantout   Khaled   Ahmed Tarek    25-Sep-11              30121
Zantout   Khaled   Ahmed Tarek    25-Oct-11              30121
Zantout   Khaled   Ahmed Tarek   26-Nov-11               30121
Zantout   Khaled   Ahmed Tarek   21-Dec-11               30121
Zantout   Khaled   Ahmed Tarek    21-Jan-12              30121
Zantout   Khaled   Ahmed Tarek    21-Jan-12
Zantout   Khaled   Ahmed Tarek    21-Feb-12              30121
Zantout   Khaled   Ahmed Tarek   21-Mar-12               30121
Zantout   Khaled   Ahmed Tarek    21-Apr-12              30121

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Last      First                  Effective     Monthly
                   Middle Name
Name      Name                   date          Salary

Zantout   Khaled   Ahmed Tarek   21-May-12         31928.26
Zantout   Khaled   Ahmed Tarek    21-Jun-12          39000
Zantout   Khaled   Ahmed Tarek     21-Jul-12         39000
Zantout   Khaled   Ahmed Tarek   21-Aug-12           39000
Zantout   Khaled   Ahmed Tarek    22-Sep-12          39000
Zantout   Khaled   Ahmed Tarek    30-Sep-12
Zantout   Khaled   Ahmed Tarek    21-Oct-12              39000
Zantout   Khaled   Ahmed Tarek   21-Nov-12               39000
Zantout   Khaled   Ahmed Tarek   20-Dec-12               39000
Zantout   Khaled   Ahmed Tarek    21-Jan-13              39000
Zantout   Khaled   Ahmed Tarek    21-Jan-13
Zantout   Khaled   Ahmed Tarek    21-Feb-13              39000
Zantout   Khaled   Ahmed Tarek   21-Mar-13               39000
Zantout   Khaled   Ahmed Tarek    21-Apr-13              39000
Zantout   Khaled   Ahmed Tarek   21-May-13               39000
Zantout   Khaled   Ahmed Tarek    22-Jun-13              42900
Zantout   Khaled   Ahmed Tarek     21-Jul-13             42900
Zantout   Khaled   Ahmed Tarek   21-Aug-13               42900
Zantout   Khaled   Ahmed Tarek    22-Sep-13              42900
Zantout   Khaled   Ahmed Tarek    22-Oct-13              42900
Zantout   Khaled   Ahmed Tarek   21-Nov-13               42900
Zantout   Khaled   Ahmed Tarek   21-Dec-13               42900
Zantout   Khaled   Ahmed Tarek    22-Jan-14              47000
Zantout   Khaled   Ahmed Tarek    22-Jan-14
Zantout   Khaled   Ahmed Tarek    22-Feb-14              47000
Zantout   Khaled   Ahmed Tarek   22-Mar-14               47000
Zantout   Khaled   Ahmed Tarek    22-Apr-14              47000
Zantout   Khaled   Ahmed Tarek   22-May-14               47000
Zantout   Khaled   Ahmed Tarek    21-Jun-14              47000
Zantout   Khaled   Ahmed Tarek    21-Jun-14
Zantout   Khaled   Ahmed Tarek     22-Jul-14             47000
Zantout   Khaled   Ahmed Tarek   21-Aug-14               47000
Zantout   Khaled   Ahmed Tarek    21-Sep-14              47000
Zantout   Khaled   Ahmed Tarek    22-Oct-14              47000
Zantout   Khaled   Ahmed Tarek   22-Nov-14               47000
Zantout   Khaled   Ahmed Tarek   21-Dec-14               47000
Zantout   Khaled   Ahmed Tarek   21-Dec-14
Zantout   Khaled   Ahmed Tarek    24-Jan-15              47000
Zantout   Khaled   Ahmed Tarek    24-Jan-15
Zantout   Khaled   Ahmed Tarek    23-Feb-15              47000
Zantout   Khaled   Ahmed Tarek   24-Mar-15               47000
Zantout   Khaled   Ahmed Tarek    25-Apr-15              47000
Zantout   Khaled   Ahmed Tarek   25-May-15               47000


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Last      First                  Effective     Monthly
                   Middle Name
Name      Name                   date          Salary

Zantout   Khaled   Ahmed Tarek    24-Jun-15              47000
Zantout   Khaled   Ahmed Tarek     15-Jul-15             47000
Zantout   Khaled   Ahmed Tarek   22-Aug-15               47000
Zantout   Khaled   Ahmed Tarek    19-Sep-15              47000
Zantout   Khaled   Ahmed Tarek    24-Oct-15              47000
Zantout   Khaled   Ahmed Tarek   24-Nov-15               47000
Zantout   Khaled   Ahmed Tarek   20-Dec-15               47000
Zantout   Khaled   Ahmed Tarek    25-Jan-16              47000
Zantout   Khaled   Ahmed Tarek    25-Jan-16
Zantout   Khaled   Ahmed Tarek    24-Feb-16          47000
Zantout   Khaled   Ahmed Tarek   24-Mar-16           47000
Zantout   Khaled   Ahmed Tarek    25-Apr-16          47000
Zantout   Khaled   Ahmed Tarek   25-May-16         18542.47
Zantout   Khaled   Ahmed Tarek   26-May-16
                                                 2981203.39 $ 812,317.00




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Element Register
Last     First   Effective      Monthly
Name     Name    date           Salary

Hamdan   Majed    25-Nov-09          36000
Hamdan   Majed    14-Dec-09
Hamdan   Majed    22-Dec-09          36000
Hamdan   Majed     26-Jan-10         36000
Hamdan   Majed     26-Jan-10
Hamdan   Majed     23-Feb-10         36000
Hamdan   Majed    25-Mar-10          36000
Hamdan   Majed    25-Mar-10
Hamdan   Majed     25-Apr-10
Hamdan   Majed     25-Apr-10         36000
Hamdan   Majed    26-May-10          38880
Hamdan   Majed     25-Jun-10         38880
Hamdan   Majed       5-Jul-10
Hamdan   Majed      26-Jul-10        42880
Hamdan   Majed    26-Aug-10          42880
Hamdan   Majed    26-Aug-10
Hamdan   Majed     25-Sep-10
Hamdan   Majed     25-Sep-10         42880
Hamdan   Majed     26-Oct-10         42880
Hamdan   Majed     26-Oct-10
Hamdan   Majed    25-Nov-10          42880
Hamdan   Majed    22-Dec-10          42880
Hamdan   Majed     25-Jan-11         42880
Hamdan   Majed     25-Jan-11
Hamdan   Majed     24-Feb-11         42880
Hamdan   Majed    26-Mar-11          42880
Hamdan   Majed     25-Apr-11         42880
Hamdan   Majed    25-May-11          42880
Hamdan   Majed     25-Jun-11         42880
Hamdan   Majed      25-Jul-11        42880
Hamdan   Majed      25-Jul-11
Hamdan   Majed    25-Aug-11          42880
Hamdan   Majed     25-Sep-11         42880
Hamdan   Majed     12-Oct-11
Hamdan   Majed     25-Oct-11         42880
Hamdan   Majed    26-Nov-11          42880
Hamdan   Majed    21-Dec-11          42880
Hamdan   Majed     21-Jan-12         42880
Hamdan   Majed     21-Jan-12
Hamdan   Majed     21-Feb-12         42880

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Last     First   Effective      Monthly
Name     Name    date           Salary

Hamdan   Majed    21-Mar-12          42880
Hamdan   Majed     21-Apr-12         42880
Hamdan   Majed    21-May-12          45024
Hamdan   Majed     21-Jun-12         45024
Hamdan   Majed      21-Jul-12        45024
Hamdan   Majed    21-Aug-12          45024
Hamdan   Majed     22-Sep-12         45024
Hamdan   Majed     21-Oct-12         51344
Hamdan   Majed    21-Nov-12          51344
Hamdan   Majed    20-Dec-12          51344
Hamdan   Majed     21-Jan-13         51344
Hamdan   Majed     21-Jan-13
Hamdan   Majed     21-Feb-13         51344
Hamdan   Majed    21-Mar-13          51344
Hamdan   Majed     21-Apr-13         51344
Hamdan   Majed    21-May-13          51344
Hamdan   Majed     22-Jun-13       54424.64
Hamdan   Majed      21-Jul-13      54424.64
Hamdan   Majed    21-Aug-13        54424.64
Hamdan   Majed     22-Sep-13       54424.64
Hamdan   Majed     22-Oct-13       54424.64
Hamdan   Majed    21-Nov-13        54424.64
Hamdan   Majed    21-Dec-13        54424.64
Hamdan   Majed     22-Jan-14         63000
Hamdan   Majed     22-Jan-14
Hamdan   Majed     22-Feb-14         63000
Hamdan   Majed    22-Mar-14          63000
Hamdan   Majed     22-Apr-14         63000
Hamdan   Majed    22-May-14          63000
Hamdan   Majed     21-Jun-14         63000
Hamdan   Majed     21-Jun-14
Hamdan   Majed      22-Jul-14        63000
Hamdan   Majed    21-Aug-14          63000
Hamdan   Majed     21-Sep-14         63000
Hamdan   Majed     22-Oct-14         63000
Hamdan   Majed    22-Nov-14          63000
Hamdan   Majed    21-Dec-14          63000
Hamdan   Majed     24-Jan-15         63000
Hamdan   Majed     24-Jan-15
Hamdan   Majed     23-Feb-15         63000
Hamdan   Majed    24-Mar-15          63000
Hamdan   Majed     25-Apr-15         63000
Hamdan   Majed    25-May-15          63000

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Last     First   Effective      Monthly
Name     Name    date           Salary

Hamdan   Majed     24-Jun-15         63000
Hamdan   Majed      15-Jul-15        63000
Hamdan   Majed    22-Aug-15          63000
Hamdan   Majed     19-Sep-15         63000
Hamdan   Majed     24-Oct-15         63000
Hamdan   Majed    24-Nov-15          63000
Hamdan   Majed    20-Dec-15          63000
Hamdan   Majed     25-Jan-16         63000
Hamdan   Majed     25-Jan-16
Hamdan   Majed     24-Feb-16         63000
Hamdan   Majed    24-Mar-16          63000
Hamdan   Majed     25-Apr-16         63000
Hamdan   Majed    25-May-16        24854.79
Hamdan   Majed    26-May-16
                                4042819.27 $ 1,101,585.63




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Element Register
Last     First      Middle      Effective     Monthly
Name     Name       Name        date          Salary

Sadagopan Sadeesh   Govindasw   25-Nov-09          22100
Sadagopan Sadeesh   Govindasw   14-Dec-09
Sadagopan Sadeesh   Govindasw   22-Dec-09          22100
Sadagopan Sadeesh   Govindasw    26-Jan-10         22100
Sadagopan Sadeesh   Govindasw    26-Jan-10
Sadagopan Sadeesh   Govindasw    23-Feb-10         22100
Sadagopan Sadeesh   Govindasw   25-Mar-10          22100
Sadagopan Sadeesh   Govindasw   25-Mar-10
Sadagopan Sadeesh   Govindasw    25-Apr-10
Sadagopan Sadeesh   Govindasw    25-Apr-10         22100
Sadagopan Sadeesh   Govindasw   26-May-10          22100
Sadagopan Sadeesh   Govindasw    25-Jun-10         22100
Sadagopan Sadeesh   Govindasw     26-Jul-10        22100
Sadagopan Sadeesh   Govindasw   26-Aug-10          22100
Sadagopan Sadeesh   Govindasw   26-Aug-10
Sadagopan Sadeesh   Govindasw    25-Sep-10
Sadagopan Sadeesh   Govindasw    25-Sep-10         22100
Sadagopan Sadeesh   Govindasw    21-Oct-10
Sadagopan Sadeesh   Govindasw    26-Oct-10         22100
Sadagopan Sadeesh   Govindasw    26-Oct-10
Sadagopan Sadeesh   Govindasw   25-Nov-10          22100
Sadagopan Sadeesh   Govindasw   22-Dec-10          27000
Sadagopan Sadeesh   Govindasw    25-Jan-11         27000
Sadagopan Sadeesh   Govindasw    25-Jan-11
Sadagopan Sadeesh   Govindasw    24-Feb-11         27000
Sadagopan Sadeesh   Govindasw   26-Mar-11          27000
Sadagopan Sadeesh   Govindasw    25-Apr-11         27000
Sadagopan Sadeesh   Govindasw   25-May-11          27000
Sadagopan Sadeesh   Govindasw    25-Jun-11         27000
Sadagopan Sadeesh   Govindasw     25-Jul-11        27000
Sadagopan Sadeesh   Govindasw     25-Jul-11
Sadagopan Sadeesh   Govindasw   25-Aug-11         27000
Sadagopan Sadeesh   Govindasw    25-Sep-11        27000
Sadagopan Sadeesh   Govindasw    25-Oct-11      31218.75
Sadagopan Sadeesh   Govindasw   26-Nov-11       31218.75
Sadagopan Sadeesh   Govindasw   21-Dec-11       31218.75
Sadagopan Sadeesh   Govindasw    21-Jan-12      31218.75
Sadagopan Sadeesh   Govindasw    21-Jan-12
Sadagopan Sadeesh   Govindasw    21-Feb-12      31218.75


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Last     First      Middle      Effective     Monthly
Name     Name       Name        date          Salary

Sadagopan Sadeesh   Govindasw   21-Mar-12       31218.75
Sadagopan Sadeesh   Govindasw    21-Apr-12      31218.75
Sadagopan Sadeesh   Govindasw   21-May-12       31218.75
Sadagopan Sadeesh   Govindasw    21-Jun-12      31218.75
Sadagopan Sadeesh   Govindasw     21-Jul-12     31218.75
Sadagopan Sadeesh   Govindasw   21-Aug-12       31218.75
Sadagopan Sadeesh   Govindasw    22-Sep-12      31218.75
Sadagopan Sadeesh   Govindasw    21-Oct-12      31218.75
Sadagopan Sadeesh   Govindasw   21-Nov-12       31218.75
Sadagopan Sadeesh   Govindasw   20-Dec-12       31218.75
Sadagopan Sadeesh   Govindasw    21-Jan-13
Sadagopan Sadeesh   Govindasw    21-Jan-13      31218.75
Sadagopan Sadeesh   Govindasw    21-Feb-13      31218.75
Sadagopan Sadeesh   Govindasw   21-Mar-13       31218.75
Sadagopan Sadeesh   Govindasw    21-Apr-13      35901.56
Sadagopan Sadeesh   Govindasw   21-May-13       35901.56
Sadagopan Sadeesh   Govindasw    22-Jun-13      35901.56
Sadagopan Sadeesh   Govindasw     21-Jul-13     35901.56
Sadagopan Sadeesh   Govindasw   21-Aug-13       35901.56
Sadagopan Sadeesh   Govindasw    22-Sep-13      35901.56
Sadagopan Sadeesh   Govindasw     1-Oct-13
Sadagopan Sadeesh   Govindasw    22-Oct-13      35901.56
Sadagopan Sadeesh   Govindasw   21-Nov-13       35901.56
Sadagopan Sadeesh   Govindasw   21-Dec-13       35901.56
Sadagopan Sadeesh   Govindasw    22-Jan-14      35901.56
Sadagopan Sadeesh   Govindasw    22-Jan-14
Sadagopan Sadeesh   Govindasw    22-Feb-14      35901.56
Sadagopan Sadeesh   Govindasw   22-Mar-14       35901.56
Sadagopan Sadeesh   Govindasw    22-Apr-14      35901.56
Sadagopan Sadeesh   Govindasw   22-May-14       35901.56
Sadagopan Sadeesh   Govindasw    21-Jun-14      35901.56
Sadagopan Sadeesh   Govindasw    21-Jun-14
Sadagopan Sadeesh   Govindasw     22-Jul-14     35901.56
Sadagopan Sadeesh   Govindasw   21-Aug-14       35901.56
Sadagopan Sadeesh   Govindasw   25-Aug-14
Sadagopan Sadeesh   Govindasw    21-Sep-14      35527.79
Sadagopan Sadeesh   Govindasw    22-Oct-14      37696.64
Sadagopan Sadeesh   Govindasw   22-Nov-14       37696.64
Sadagopan Sadeesh   Govindasw   21-Dec-14       37696.64
Sadagopan Sadeesh   Govindasw    24-Jan-15      37696.64
Sadagopan Sadeesh   Govindasw    24-Jan-15
Sadagopan Sadeesh   Govindasw    23-Feb-15      37696.64
Sadagopan Sadeesh   Govindasw   24-Mar-15       37696.64

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Last     First      Middle      Effective     Monthly
Name     Name       Name        date          Salary

Sadagopan Sadeesh   Govindasw    25-Apr-15      37696.64
Sadagopan Sadeesh   Govindasw   25-May-15       37696.64
Sadagopan Sadeesh   Govindasw    24-Jun-15      37696.64
Sadagopan Sadeesh   Govindasw     15-Jul-15     37696.64
Sadagopan Sadeesh   Govindasw   22-Aug-15       37696.64
Sadagopan Sadeesh   Govindasw    19-Sep-15      37696.64
Sadagopan Sadeesh   Govindasw    24-Oct-15      37696.64
Sadagopan Sadeesh   Govindasw   24-Nov-15       37696.64
Sadagopan Sadeesh   Govindasw   20-Dec-15       37696.64
Sadagopan Sadeesh   Govindasw    25-Jan-16      37696.64
Sadagopan Sadeesh   Govindasw    25-Jan-16
Sadagopan Sadeesh   Govindasw     4-Feb-16
Sadagopan Sadeesh   Govindasw    24-Feb-16      37696.64
Sadagopan Sadeesh   Govindasw   24-Mar-16       37696.64
Sadagopan Sadeesh   Govindasw    25-Apr-16       7436.05
Sadagopan Sadeesh   Govindasw   25-May-16              0
Sadagopan Sadeesh   Govindasw   25-May-16
                                              2451067.38 $     667,865.77




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Element Register
Last      First                      Effective        Bonus NOV
                   Middle Name
Name      Name                       date             Plan

Zantout   Khaled   Ahmed Tarek          25-Nov-09
Zantout   Khaled   Ahmed Tarek          14-Dec-09
Zantout   Khaled   Ahmed Tarek          22-Dec-09
Zantout   Khaled   Ahmed Tarek           26-Jan-10
Zantout   Khaled   Ahmed Tarek           26-Jan-10        162000
Zantout   Khaled   Ahmed Tarek           23-Feb-10
Zantout   Khaled   Ahmed Tarek          25-Mar-10
Zantout   Khaled   Ahmed Tarek          25-Mar-10
Zantout   Khaled   Ahmed Tarek           25-Apr-10
Zantout   Khaled   Ahmed Tarek           25-Apr-10
Zantout   Khaled   Ahmed Tarek          26-May-10
Zantout   Khaled   Ahmed Tarek           25-Jun-10
Zantout   Khaled   Ahmed Tarek            26-Jul-10
Zantout   Khaled   Ahmed Tarek          26-Aug-10
Zantout   Khaled   Ahmed Tarek          26-Aug-10
Zantout   Khaled   Ahmed Tarek           25-Sep-10
Zantout   Khaled   Ahmed Tarek           25-Sep-10
Zantout   Khaled   Ahmed Tarek           26-Oct-10
Zantout   Khaled   Ahmed Tarek           26-Oct-10
Zantout   Khaled   Ahmed Tarek          25-Nov-10
Zantout   Khaled   Ahmed Tarek          22-Dec-10
Zantout   Khaled   Ahmed Tarek           25-Jan-11
Zantout   Khaled   Ahmed Tarek           25-Jan-11      216871.2
Zantout   Khaled   Ahmed Tarek           24-Feb-11
Zantout   Khaled   Ahmed Tarek          26-Mar-11
Zantout   Khaled   Ahmed Tarek           25-Apr-11
Zantout   Khaled   Ahmed Tarek          25-May-11
Zantout   Khaled   Ahmed Tarek           25-Jun-11
Zantout   Khaled   Ahmed Tarek            25-Jul-11
Zantout   Khaled   Ahmed Tarek            25-Jul-11
Zantout   Khaled   Ahmed Tarek          25-Aug-11
Zantout   Khaled   Ahmed Tarek           25-Sep-11
Zantout   Khaled   Ahmed Tarek           25-Oct-11
Zantout   Khaled   Ahmed Tarek          26-Nov-11
Zantout   Khaled   Ahmed Tarek          21-Dec-11
Zantout   Khaled   Ahmed Tarek           21-Jan-12
Zantout   Khaled   Ahmed Tarek           21-Jan-12      216871.2
Zantout   Khaled   Ahmed Tarek           21-Feb-12
Zantout   Khaled   Ahmed Tarek          21-Mar-12
Zantout   Khaled   Ahmed Tarek           21-Apr-12


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Last      First                      Effective        Bonus NOV
                   Middle Name
Name      Name                       date             Plan

Zantout   Khaled   Ahmed Tarek          21-May-12
Zantout   Khaled   Ahmed Tarek           21-Jun-12
Zantout   Khaled   Ahmed Tarek            21-Jul-12
Zantout   Khaled   Ahmed Tarek          21-Aug-12
Zantout   Khaled   Ahmed Tarek           22-Sep-12
Zantout   Khaled   Ahmed Tarek           30-Sep-12
Zantout   Khaled   Ahmed Tarek           21-Oct-12
Zantout   Khaled   Ahmed Tarek          21-Nov-12
Zantout   Khaled   Ahmed Tarek          20-Dec-12
Zantout   Khaled   Ahmed Tarek           21-Jan-13
Zantout   Khaled   Ahmed Tarek           21-Jan-13     154628.45
Zantout   Khaled   Ahmed Tarek           21-Feb-13
Zantout   Khaled   Ahmed Tarek          21-Mar-13
Zantout   Khaled   Ahmed Tarek           21-Apr-13
Zantout   Khaled   Ahmed Tarek          21-May-13
Zantout   Khaled   Ahmed Tarek           22-Jun-13
Zantout   Khaled   Ahmed Tarek            21-Jul-13
Zantout   Khaled   Ahmed Tarek          21-Aug-13
Zantout   Khaled   Ahmed Tarek           22-Sep-13
Zantout   Khaled   Ahmed Tarek           22-Oct-13
Zantout   Khaled   Ahmed Tarek          21-Nov-13
Zantout   Khaled   Ahmed Tarek          21-Dec-13
Zantout   Khaled   Ahmed Tarek           22-Jan-14
Zantout   Khaled   Ahmed Tarek           22-Jan-14     285796.55
Zantout   Khaled   Ahmed Tarek           22-Feb-14
Zantout   Khaled   Ahmed Tarek          22-Mar-14
Zantout   Khaled   Ahmed Tarek           22-Apr-14
Zantout   Khaled   Ahmed Tarek          22-May-14
Zantout   Khaled   Ahmed Tarek           21-Jun-14
Zantout   Khaled   Ahmed Tarek           21-Jun-14
Zantout   Khaled   Ahmed Tarek            22-Jul-14
Zantout   Khaled   Ahmed Tarek          21-Aug-14
Zantout   Khaled   Ahmed Tarek           21-Sep-14
Zantout   Khaled   Ahmed Tarek           22-Oct-14
Zantout   Khaled   Ahmed Tarek          22-Nov-14
Zantout   Khaled   Ahmed Tarek          21-Dec-14
Zantout   Khaled   Ahmed Tarek          21-Dec-14
Zantout   Khaled   Ahmed Tarek           24-Jan-15
Zantout   Khaled   Ahmed Tarek           24-Jan-15     419815.18
Zantout   Khaled   Ahmed Tarek           23-Feb-15
Zantout   Khaled   Ahmed Tarek          24-Mar-15
Zantout   Khaled   Ahmed Tarek           25-Apr-15
Zantout   Khaled   Ahmed Tarek          25-May-15


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Last      First                      Effective        Bonus NOV
                   Middle Name
Name      Name                       date             Plan

Zantout   Khaled   Ahmed Tarek           24-Jun-15
Zantout   Khaled   Ahmed Tarek            15-Jul-15
Zantout   Khaled   Ahmed Tarek          22-Aug-15
Zantout   Khaled   Ahmed Tarek           19-Sep-15
Zantout   Khaled   Ahmed Tarek           24-Oct-15
Zantout   Khaled   Ahmed Tarek          24-Nov-15
Zantout   Khaled   Ahmed Tarek          20-Dec-15
Zantout   Khaled   Ahmed Tarek           25-Jan-16
Zantout   Khaled   Ahmed Tarek           25-Jan-16      89086.49
Zantout   Khaled   Ahmed Tarek           24-Feb-16
Zantout   Khaled   Ahmed Tarek          24-Mar-16
Zantout   Khaled   Ahmed Tarek           25-Apr-16
Zantout   Khaled   Ahmed Tarek          25-May-16
Zantout   Khaled   Ahmed Tarek          26-May-16
                                                      1545069.07     $420,999.75




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Element Register

Last     First   Effective      Bonus NOV
Name     Name    date           Plan


Hamdan   Majed    25-Nov-09
Hamdan   Majed    14-Dec-09
Hamdan   Majed    22-Dec-09
Hamdan   Majed     26-Jan-10
Hamdan   Majed     26-Jan-10        345600
Hamdan   Majed     23-Feb-10
Hamdan   Majed    25-Mar-10
Hamdan   Majed    25-Mar-10
Hamdan   Majed     25-Apr-10
Hamdan   Majed     25-Apr-10
Hamdan   Majed    26-May-10
Hamdan   Majed     25-Jun-10
Hamdan   Majed       5-Jul-10
Hamdan   Majed      26-Jul-10
Hamdan   Majed    26-Aug-10
Hamdan   Majed    26-Aug-10
Hamdan   Majed     25-Sep-10
Hamdan   Majed     25-Sep-10
Hamdan   Majed     26-Oct-10
Hamdan   Majed     26-Oct-10
Hamdan   Majed    25-Nov-10
Hamdan   Majed    22-Dec-10
Hamdan   Majed     25-Jan-11
Hamdan   Majed     25-Jan-11        411648
Hamdan   Majed     24-Feb-11
Hamdan   Majed    26-Mar-11
Hamdan   Majed     25-Apr-11
Hamdan   Majed    25-May-11
Hamdan   Majed     25-Jun-11
Hamdan   Majed      25-Jul-11
Hamdan   Majed      25-Jul-11
Hamdan   Majed    25-Aug-11
Hamdan   Majed     25-Sep-11
Hamdan   Majed     12-Oct-11
Hamdan   Majed     25-Oct-11
Hamdan   Majed    26-Nov-11
Hamdan   Majed    21-Dec-11
Hamdan   Majed     21-Jan-12

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Last     First   Effective      Bonus NOV
Name     Name    date           Plan


Hamdan   Majed     21-Jan-12        514560
Hamdan   Majed     21-Feb-12
Hamdan   Majed    21-Mar-12
Hamdan   Majed     21-Apr-12
Hamdan   Majed    21-May-12
Hamdan   Majed     21-Jun-12
Hamdan   Majed      21-Jul-12
Hamdan   Majed    21-Aug-12
Hamdan   Majed     22-Sep-12
Hamdan   Majed     21-Oct-12
Hamdan   Majed    21-Nov-12
Hamdan   Majed    20-Dec-12
Hamdan   Majed     21-Jan-13
Hamdan   Majed     21-Jan-13       339283.9
Hamdan   Majed     21-Feb-13
Hamdan   Majed    21-Mar-13
Hamdan   Majed     21-Apr-13
Hamdan   Majed    21-May-13
Hamdan   Majed     22-Jun-13
Hamdan   Majed      21-Jul-13
Hamdan   Majed    21-Aug-13
Hamdan   Majed     22-Sep-13
Hamdan   Majed     22-Oct-13
Hamdan   Majed    21-Nov-13
Hamdan   Majed    21-Dec-13
Hamdan   Majed     22-Jan-14
Hamdan   Majed     22-Jan-14      478861.24
Hamdan   Majed     22-Feb-14
Hamdan   Majed    22-Mar-14
Hamdan   Majed     22-Apr-14
Hamdan   Majed    22-May-14
Hamdan   Majed     21-Jun-14
Hamdan   Majed     21-Jun-14
Hamdan   Majed      22-Jul-14
Hamdan   Majed    21-Aug-14
Hamdan   Majed     21-Sep-14
Hamdan   Majed     22-Oct-14
Hamdan   Majed    22-Nov-14
Hamdan   Majed    21-Dec-14
Hamdan   Majed     24-Jan-15
Hamdan   Majed     24-Jan-15      703413.73


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Last     First   Effective      Bonus NOV
Name     Name    date           Plan


Hamdan   Majed     23-Feb-15
Hamdan   Majed    24-Mar-15
Hamdan   Majed     25-Apr-15
Hamdan   Majed    25-May-15
Hamdan   Majed     24-Jun-15
Hamdan   Majed      15-Jul-15
Hamdan   Majed    22-Aug-15
Hamdan   Majed     19-Sep-15
Hamdan   Majed     24-Oct-15
Hamdan   Majed    24-Nov-15
Hamdan   Majed    20-Dec-15
Hamdan   Majed     25-Jan-16
Hamdan   Majed     25-Jan-16      149267.25
Hamdan   Majed     24-Feb-16
Hamdan   Majed    24-Mar-16
Hamdan   Majed     25-Apr-16
Hamdan   Majed    25-May-16
Hamdan   Majed    26-May-16
                                 2942634.12 $ 801,807.66




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Element Register

Last     First      Middle      Effective   Bonus
Name     Name       Name        date        NOV Plan

Sadagopan Sadeesh   Govindasw   25-Nov-09
Sadagopan Sadeesh   Govindasw   14-Dec-09
Sadagopan Sadeesh   Govindasw   22-Dec-09
Sadagopan Sadeesh   Govindasw    26-Jan-10
Sadagopan Sadeesh   Govindasw    26-Jan-10 81864.96
Sadagopan Sadeesh   Govindasw    23-Feb-10
Sadagopan Sadeesh   Govindasw   25-Mar-10
Sadagopan Sadeesh   Govindasw   25-Mar-10
Sadagopan Sadeesh   Govindasw    25-Apr-10
Sadagopan Sadeesh   Govindasw    25-Apr-10
Sadagopan Sadeesh   Govindasw   26-May-10
Sadagopan Sadeesh   Govindasw    25-Jun-10
Sadagopan Sadeesh   Govindasw     26-Jul-10
Sadagopan Sadeesh   Govindasw   26-Aug-10
Sadagopan Sadeesh   Govindasw   26-Aug-10
Sadagopan Sadeesh   Govindasw    25-Sep-10
Sadagopan Sadeesh   Govindasw    25-Sep-10
Sadagopan Sadeesh   Govindasw    21-Oct-10
Sadagopan Sadeesh   Govindasw    26-Oct-10
Sadagopan Sadeesh   Govindasw    26-Oct-10
Sadagopan Sadeesh   Govindasw   25-Nov-10
Sadagopan Sadeesh   Govindasw   22-Dec-10
Sadagopan Sadeesh   Govindasw    25-Jan-11
Sadagopan Sadeesh   Govindasw    25-Jan-11  162000
Sadagopan Sadeesh   Govindasw    24-Feb-11
Sadagopan Sadeesh   Govindasw   26-Mar-11
Sadagopan Sadeesh   Govindasw    25-Apr-11
Sadagopan Sadeesh   Govindasw   25-May-11
Sadagopan Sadeesh   Govindasw    25-Jun-11
Sadagopan Sadeesh   Govindasw     25-Jul-11
Sadagopan Sadeesh   Govindasw     25-Jul-11
Sadagopan Sadeesh   Govindasw   25-Aug-11
Sadagopan Sadeesh   Govindasw    25-Sep-11
Sadagopan Sadeesh   Govindasw    25-Oct-11
Sadagopan Sadeesh   Govindasw   26-Nov-11
Sadagopan Sadeesh   Govindasw   21-Dec-11
Sadagopan Sadeesh   Govindasw    21-Jan-12
Sadagopan Sadeesh   Govindasw    21-Jan-12 262237.5
Sadagopan Sadeesh   Govindasw    21-Feb-12


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Last     First      Middle      Effective   Bonus
Name     Name       Name        date        NOV Plan

Sadagopan Sadeesh   Govindasw   21-Mar-12
Sadagopan Sadeesh   Govindasw    21-Apr-12
Sadagopan Sadeesh   Govindasw   21-May-12
Sadagopan Sadeesh   Govindasw    21-Jun-12
Sadagopan Sadeesh   Govindasw     21-Jul-12
Sadagopan Sadeesh   Govindasw   21-Aug-12
Sadagopan Sadeesh   Govindasw    22-Sep-12
Sadagopan Sadeesh   Govindasw    21-Oct-12
Sadagopan Sadeesh   Govindasw   21-Nov-12
Sadagopan Sadeesh   Govindasw   20-Dec-12
Sadagopan Sadeesh   Govindasw    21-Jan-13 159196.1
Sadagopan Sadeesh   Govindasw    21-Jan-13
Sadagopan Sadeesh   Govindasw    21-Feb-13
Sadagopan Sadeesh   Govindasw   21-Mar-13
Sadagopan Sadeesh   Govindasw    21-Apr-13
Sadagopan Sadeesh   Govindasw   21-May-13
Sadagopan Sadeesh   Govindasw    22-Jun-13
Sadagopan Sadeesh   Govindasw     21-Jul-13
Sadagopan Sadeesh   Govindasw   21-Aug-13
Sadagopan Sadeesh   Govindasw    22-Sep-13
Sadagopan Sadeesh   Govindasw     1-Oct-13
Sadagopan Sadeesh   Govindasw    22-Oct-13
Sadagopan Sadeesh   Govindasw   21-Nov-13
Sadagopan Sadeesh   Govindasw   21-Dec-13
Sadagopan Sadeesh   Govindasw    22-Jan-14
Sadagopan Sadeesh   Govindasw    22-Jan-14 142730.8
Sadagopan Sadeesh   Govindasw    22-Feb-14
Sadagopan Sadeesh   Govindasw   22-Mar-14
Sadagopan Sadeesh   Govindasw    22-Apr-14
Sadagopan Sadeesh   Govindasw   22-May-14
Sadagopan Sadeesh   Govindasw    21-Jun-14
Sadagopan Sadeesh   Govindasw    21-Jun-14
Sadagopan Sadeesh   Govindasw     22-Jul-14
Sadagopan Sadeesh   Govindasw   21-Aug-14
Sadagopan Sadeesh   Govindasw   25-Aug-14
Sadagopan Sadeesh   Govindasw    21-Sep-14
Sadagopan Sadeesh   Govindasw    22-Oct-14
Sadagopan Sadeesh   Govindasw   22-Nov-14
Sadagopan Sadeesh   Govindasw   21-Dec-14
Sadagopan Sadeesh   Govindasw    24-Jan-15
Sadagopan Sadeesh   Govindasw    24-Jan-15 306235.6
Sadagopan Sadeesh   Govindasw    23-Feb-15


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Last     First      Middle      Effective     Bonus
Name     Name       Name        date          NOV Plan

Sadagopan Sadeesh   Govindasw   24-Mar-15
Sadagopan Sadeesh   Govindasw    25-Apr-15
Sadagopan Sadeesh   Govindasw   25-May-15
Sadagopan Sadeesh   Govindasw    24-Jun-15
Sadagopan Sadeesh   Govindasw     15-Jul-15
Sadagopan Sadeesh   Govindasw   22-Aug-15
Sadagopan Sadeesh   Govindasw    19-Sep-15
Sadagopan Sadeesh   Govindasw    24-Oct-15
Sadagopan Sadeesh   Govindasw   24-Nov-15
Sadagopan Sadeesh   Govindasw   20-Dec-15
Sadagopan Sadeesh   Govindasw    25-Jan-16
Sadagopan Sadeesh   Govindasw    25-Jan-16
Sadagopan Sadeesh   Govindasw     4-Feb-16
Sadagopan Sadeesh   Govindasw    24-Feb-16
Sadagopan Sadeesh   Govindasw   24-Mar-16
Sadagopan Sadeesh   Govindasw    25-Apr-16
Sadagopan Sadeesh   Govindasw   25-May-16
Sadagopan Sadeesh   Govindasw   25-May-16
                                               1114265 $ 303,614.44




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Name        Exercise Date    NQ                       Release Date     RS
                              #         $                              #             $

Hamdan                        0        0.00                3/1/2010    500      21,830.00
                              0        0.00               2/19/2011    250      20,045.00
                6/23/2008   1668    117,308.80            2/20/2012    250      20,950.00
                6/23/2008   1000    55,839.03             2/16/2013    200      13,866.00
                6/23/2008    500    26,952.02             2/22/2014    190      14,212.00
                9/11/2012   1000    48,486.73             2/21/2015    433      23,585.51
                9/11/2012   1000    46,551.73             2/15/2016    477      13,141.35
                9/11/2012    750    13,212.55
                9/11/2012   1500    83,725.05         Total           2300     $ 127,629.86
                9/11/2012   1004    37,857.55
                9/11/2012    513     1,014.06         Tttl NQ + RS    13,766
                 7/9/2013    502    14,677.93
                7/25/2014   1112    12,617.46
                 9/8/2014    917    17,418.32

            Total           11466   475,661.23

Name        Exercise Date    NQ                       Release Date     RS
                              #          $                              #            $
Sadagopan                     0        0.00                3/1/2010    500      21,830.00
                 3/5/2008   1,000   28,939.31             2/19/2011    250      20,045.00
                 3/5/2008    500    13,502.16             2/20/2012    250      20,950.00
                1/10/2011    500    15,604.46             2/16/2013    200      13,866.00
                1/10/2011    500    14,636.96             2/22/2014    130       9,724.00
                1/10/2011    500    19,269.44             2/21/2015    173       9,423.31
                 3/4/2011    250    12,099.97             2/15/2016    190       5,234.50
                 3/4/2011    250    11,616.22
                 3/4/2011    750    13,147.38         Total           1693     $ 101,072.81
                 3/4/2011    250    13,932.47
                 3/4/2011    252     9,480.22         Tttl NQ + RS    11,091
                 4/1/2011    250    11,675.87
                 4/1/2011    250    11,192.12
                 4/1/2011    250    13,508.35
                 4/1/2011    250     8,980.87
                9/10/2012    500    27,984.85
                9/10/2012    502    19,005.54
                9/10/2012    351      747.53
                 7/8/2013    502    14,428.20
                6/20/2014    761     4,044.91
                6/20/2014    664      602.45
                6/20/2014    366     5,478.41

            Total           9,398   269,877.69


Name        Exercise Date    NQ                       Release Date     RS
                              #          $                              #            $
Zantout         6/24/2008   2000    113,066.99             3/1/2010    500      21,830.00
                6/24/2008    500    27,299.25             2/19/2011    250      20,045.00
                9/12/2012   1000    50,163.80             2/20/2012    250      20,950.00
                9/12/2012   1000    48,228.80             2/16/2013    200      13,866.00
                9/12/2012    750    14,470.35             2/22/2014    190      14,212.00
                9/12/2012   1500    86,240.65             2/21/2015    216      11,765.52
                9/12/2012   1004    39,541.34             2/15/2016    238       6,556.90
                9/12/2012    513     1,874.41
                 7/8/2013    502    14,479.75         Total           1844     $ 109,225.42

            Total           8769    395,365.34        Tttl NQ + RS    10613


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